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 6                              UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   IN RE: PACKAGED SEAFOOD                               Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                           ORDER GRANTING IN PART AND
11                                                         DENYING IN PART DEFENDANTS’
                                                           MOTIONS TO DISMISS
12
                                                           (ECF Nos. 997, 999, 1248)
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14
15          Presently before the Court are three motions to dismiss. First, Defendants Lion
16   Capital LLP, Big Catch Cayman LP, and Lion Capital (Americas), Inc. (the “Lion
17   Defendants,” “Lion Entities,” or “Defendants”) filed a Motion to Dismiss the Cherokee
18   Nation’s Complaint, (ECF No. 997). Plaintiff the Cherokee Nation’s filed an Opposition
19   to, (“Nation Opp’n,” ECF No. 1233), the Motion.
20          Second, the Lion Defendants filed a Motion to Dismiss the Bashas’ Plaintiffs’
21   Complaint, (“MTD,” ECF No. 999).1 Plaintiffs Bashas’ Inc., Marc Glassman, Inc., and 99
22   Cents Only Stores LLC’s (“Bashas Plaintiffs”) filed an Opposition to, (“Bashas Opp’n,”
23   ECF No. 1247), the Motion. Defendants filed a Reply in Support of, (ECF No. 1275), their
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25
26   1
       The Lion Defendants’ three motions are substantially similar. For ease of reference, all citations to
     Defendants’ memorandum of points and authorities will be to the sealed document located at ECF No.
27   1005-1. However, the Court will reference Defendants’ second and third motions, located at ECF No.
28   1006-1 and ECF No. 1254-1 to the extent those briefs diverge from the Motion against the Bashas’
     Plaintiffs.

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 1   motions, which respond to both the Cherokee Nation’s and the Bashas Plaintiffs’
 2   Opposition briefs.
 3          Third, the Lion Defendants filed a Motion to Dismiss, (“Four Track MTD,” ECF
 4   No. 1248), the operative complaints2 filed by the Indirect Purchaser End Payer Plaintiffs
 5   (“EPPs”), the Commercial Food Preparer Plaintiffs (“CFPs”), the Direct Purchaser Class
 6   Plaintiffs (“DPPs”), and the Direct Action Plaintiffs (“DAPs”). Those Plaintiffs filed
 7   Responses in Opposition to the Motion, (“DAP Opp’n,” ECF No. 1273; “EPP/CFP Opp’n,”
 8   ECF No. 1279; “DPP Opp’n,” ECF No. 1282), and Defendants filed a Reply in Support of,
 9   (“Four Track Reply,” ECF No. 1295), their Motion.
10          The Court heard oral argument for all three motions on July 30, 2018. Having
11   considered the parties arguments, the evidence, and the law, the Court rules as follows.
12                                           BACKGROUND
13          The case concerns an alleged conspiracy to fix the prices of packaged seafood
14   throughout the United States. Plaintiffs Bashas’ Inc., Marc Glassman, Inc., and 99 Cents
15   Only Stores LLC are businesses that have purchased packaged seafood from the three
16   largest domestic producers of packaged seafood products. (“Bashas Compl.,” No. 17-CV-
17   2487, ECF No. 1, ¶¶ 16–18.)3 Plaintiff the Cherokee Nation is a federally recognized
18   sovereign Indian nation and brings this action in its proprietary capacity and under its
19   parens patriae authority. (First Am. Compl. (“Nation FAC”), ECF No. 823, ¶¶ 11–12.)4
20   The remaining Plaintiffs have been divided into four tracks: (1) Direct Action Plaintiffs,
21   who are direct purchasers proceeding against Defendants individually; (2) Direct Purchaser
22   Plaintiffs, who are direct purchasers proceeding on behalf of a putative class; (3) Indirect
23   Purchaser Commercial Food Preparer Plaintiffs (“CFPs”), who are indirect purchasers
24   proceeding on behalf of a putative class; and (4) Indirect Purchaser End Payer Plaintiffs
25
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     2
       These are the complaints located at ECF Nos. 894, 897, 908, 910–13, 915–16, 918, 920, 923, 925, 929,
27   930, 933, and 1208.
     3
28     The sealed version of the Bashas Complaint is located at ECF No. 6 in No. 17-CV-2487.
     4
       The sealed version of The Cherokee Nation’s First Amended Complaint is located at ECF No. 825.

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 1   (“EPPs”), who are indirect purchasers proceeding on behalf of a putative class. The various
 2   civil actions relating to this conspiracy were consolidated in a multi-district litigation
 3   (“MDL”) and centralized pretrial proceedings to this Court on December 9, 2015, (see
 4   Transfer Order, ECF No. 1).
 5           This particular aspect of the MDL deals with three Defendants, who are specially
 6   appearing: Lion Capital LLP, Lion Capital (Americas), Inc., and Big Catch Cayman LP.
 7   Defendant Lion Capital LLP (“Lion Capital”) is a British private equity firm organized
 8   under the laws of the United Kingdom (“U.K.”). (Bashas Compl. ¶ 270; MTD 10.)5 Lion
 9   Capital contends it does not have any offices, employees, or operations in the United States
10   and its only U.S.-based asset is Lion Capital (Americas), Inc.6 (Declaration of Simon
11   Brown (“Brown Decl.”), ECF No. 997-2, ¶ 6.)
12           Defendant Lion Capital (Americas), Inc. (“Lion Americas”) is a Delaware
13   corporation with its principal place of business in Santa Monica, California. (MTD 11.)
14   Lion Americas moved its office from New York to Santa Monica in October 2012. Lion
15   Americas provides investment advice regarding investments in North America to Lion
16   Capital, which Lion Capital considers on behalf of the investment funds that it manages.
17   (Id.)
18           Defendant Big Catch Cayman LP (“Big Catch”) is a holding company organized
19   under the laws of the Cayman Islands and has no offices or employees. (Bashas Compl.
20   ¶ 272; MTD 11.) Big Catch’s only assets are its interest in Bumble Bee Holdco SCA, a
21   subsidiary and owner of Bumble Bee’s equity, and its interest in an unrelated technology
22   company. (MTD 11.) Plaintiffs allege that Lion Capital owns a majority share of Big
23   Catch. (Bashas Compl. ¶ 272.)
24   ///
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     5
       Pin citations to docketed material refer to the CM/ECF page numbers electronically stamped at the top
27   of each page.
28
     6
       The parties dispute whether Lion Americas’ office and employees belong to or are controlled by Lion
     Capital. (See, e.g., Bashas Compl. ¶ 270.)

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 1   that they participated in a conspiracy within the packaged seafood industry to fix, raise and
 2   maintain the price of package seafood in the United States. (Id. ¶ 224.)
 3          On May 8, 2017, DOJ filed criminal information against Bumble Bee and the entity
 4   pled guilty to its role in a conspiracy to fix the price of packaged seafood products in the
 5   United States on August 2, 2017. (Id. ¶¶ 227–28.) Bumble Bee agreed to pay a criminal
 6   fine of $25 million, but that amount will increase to a maximum fine of $81.5 million
 7   payable by Big Catch, in the event of a sale of Bumble Bee, subject to certain terms and
 8   conditions that are sealed in the criminal case. (Id. ¶ 228.) Most recently, Bumble Bee
 9   CEO Chris Lischewski was indicted on May 16, 2018.10
10          The Lion Defendants were not originally named in the various Plaintiffs’ complaints.
11   In late 2017 and early 2018, plaintiffs filed four motions to amend the scheduling order to
12   add the Lion Defendants, (ECF Nos. 530, 724, 769, 811), which the Court granted in
13   relevant part, (ECF No. 884). The Court’s order resulted in amended complaints from a
14   variety of parties. Defendants bring three motions to dismiss based on lack of personal
15   jurisdiction, pursuant to Rule 12(b)(2), and failure to state a claim, under Rule 12(b)(6),
16   against the Bashas Plaintiffs, the Cherokee Nation, and the EPPs, CFP, DPPs, and DAPs.
17                                           LEGAL STANDARD
18   I.     Rule 12(b)(2)
19          A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(2) challenges
20   the Court’s personal jurisdiction over a party. The plaintiff bears the burden of establishing
21   that jurisdiction is proper. Boschetto v. Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008)
22   (citing Sher v. Johnson, 911 F.2d 1357, 1361 (9th Cir. 1990)). The Court may decide the
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25   10
        Plaintiffs request the Court judicially notice Mr. Lischewski’s indictment, (Ex. 45, ECF No. 1247-17).
     (Nation Opp’n 34 n.36; Bashas Opp’n 24 n.14.) Courts may take judicial notice of court dockets and
26   filings in other courts. Porter v. Ollison, 620 F.3d 952, 954–55 (9th Cir. 2010). It is acceptable for courts
     to notice the indictment only as to evidence of the crime charged, not the truth of the matters asserted
27   therein. See CB Equities, LLC v. Am. Brokers Conduit Corp., No. 12-CV-05449-DMR, 2016 WL
28   4364320, at *3 n.2 (N.D. Cal. Aug. 16, 2016) (collecting cases). The Court GRANTS Plaintiffs’ request
     and notices Mr. Lischewski’s indictment.

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 1   motion without an evidentiary hearing, and thus “the plaintiff need only make a prima facie
 2   showing of the jurisdictional facts.” Id. (quoting Caruth v. Int’l Psychoanalytical Ass’n,
 3   59 F.3d 126, 127–28 (9th Cir. 1995)). A plaintiff makes a prima facie showing by
 4   producing admissible evidence, which, if believed, would be sufficient to establish the
 5   existence of personal jurisdiction. Ballard v. Savage, 65 F.3d 1495, 1498 (9th Cir. 1995).
 6   “Uncontroverted allegations in the plaintiff’s complaint must be taken as true,” Boschetto,
 7   539 F.3d at 1015, and “[c]onflicts between the parties over statements contained in
 8   affidavits must be resolved in the plaintiff’s favor,” id. (quoting Schwarzenegger v. Fred
 9   Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004)); see Am. Tel. & Tel. Co. v.
10   Compagnie Bruxelles Lambert, 94 F.3d 586, 588 (9th Cir. 1996).
11         A court’s power to exercise jurisdiction over a party is limited by both statutory and
12   constitutional considerations. First, a long-arm statute must confer jurisdiction over a
13   defendant. Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154–55 (9th Cir. 2006) (citing
14   Fireman’s Fund Ins. Co. v. Nat’l Bank of Coops., 103 F.3d 888, 893 (9th Cir. 1996)). There
15   is no general federal long-arm statute, S.E.C. v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007),
16   so a federal district court applies either the law of the state in which it sits, Fed. R. Civ. P.
17   4(k)(1)(A), or looks to specific federal statutes to supply the requisite service of process,
18   Fed. R. Civ. P. 4(k)(1)(C), (k)(2); Ross, 504 F.3d at 1138. In an antitrust action, section
19   12 of the Clayton Act is the requisite federal long-arm statute and provides:
20                Any suit, action, or proceeding under the antitrust laws against a
                  corporation may be brought not only in the judicial district
21
                  whereof it is an inhabitant, but also in any district wherein it may
22                be found or transacts business; and all process in such cases may
                  be served in the district of which it is an inhabitant, or wherever
23
                  it may be found.
24
25   15 U.S.C. § 22; see also KM Enters., Inc. v. Global Traffic Techs., Inc., 725 F.3d 718, 724
26   (7th Cir. 2013) (“[Section 12’s] first clause sets venue anywhere the corporation is an
27   ‘inhabitant, is ‘found,’ or ‘transacts business,’ while the second clause provides for
28   nationwide (indeed, worldwide) service of process and therefore nationwide personal

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 1   jurisdiction.” (citations omitted)).   The Ninth Circuit has held that “when a statute
 2   authorizes nationwide service of process, national contacts analysis is appropriate. In such
 3   cases, ‘due process demands [a showing of minimum contacts with the United States] with
 4   respect to foreign defendants before a court can assert personal jurisdiction.’” Action
 5   Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180 (9th Cir. 2004) (alteration
 6   in original) (quoting Go–Video, Inc. v. Akai Elec. Co., 885 F.2d 1406, 1416 (9th Cir.
 7   1989)).
 8         Second, the Fourteenth Amendment’s Due Process clause limits the personal
 9   jurisdiction of state courts. Bristol-Myers Squibb Co. v. Superior Court of Cal., S.F. Cnty.,
10   137 S. Ct. 1773, 1779 (2017) (citations omitted). “For a court to exercise personal
11   jurisdiction over a nonresident defendant, that defendant must have at least ‘minimum
12   contacts’ with the relevant forum such that the exercise of jurisdiction ‘does not offend
13   traditional notions of fair play and substantial justice.’” Schwarzenegger, 374 F.3d at 801
14   (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945) (internal quotation marks
15   omitted)).
16         “In a statute providing for nationwide service of process, the inquiry to determine
17   ‘minimum contacts’ is thus “whether the defendant has acted within any district of the
18   United States or sufficiently caused foreseeable consequences in this country.” Action
19   Embroidery, 368 F.3d at 1180 (quoting Sec. Investor Prot. Corp. v. Vigman, 764 F.2d 1309,
20   1316 (9th Cir. 1985)). Under the minimum contacts test, jurisdiction can be either
21   “general” or “specific.” Doe v. Unocal Corp., 248 F.3d 915, 923 (9th Cir. 2001) (per
22   curiam), abrogated on other grounds by Daimler AG v. Bauman, 571 U.S. 117 (2014). If
23   a defendant has sufficient minimum contacts for the court to exercise personal jurisdiction
24   over him, the exercise of such jurisdiction must also be reasonable. Asahi Metal Indus. Co.
25   v. Super. Ct. of Cal., Solano Cnty., 480 U.S. 102, 113 (1987).
26   II.   Rule 12(b)(6)
27         Federal Rule of Civil Procedure 12(b)(6) permits a party to raise by motion the
28   defense that the complaint “fail[s] to state a claim upon which relief can be granted,”

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 1   generally referred to as a motion to dismiss. The Court evaluates whether a complaint
 2   states a cognizable legal theory and sufficient facts in light of Federal Rule of Civil
 3   Procedure 8(a), which requires a “short and plain statement of the claim showing that the
 4   pleader is entitled to relief.”        Although Rule 8 “does not require ‘detailed factual
 5   allegations,’ . . . it [does] demand more than an unadorned, the-defendant-unlawfully-
 6   harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
 7   Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In other words, “a plaintiff’s obligation to
 8   provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and
 9   conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
10   Twombly, 550 U.S. at 555 (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). A
11   complaint will not suffice “if it tenders ‘naked assertion[s]’ devoid of ‘further factual
12   enhancement.’” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at 557).
13          In order to survive a motion to dismiss, “a complaint must contain sufficient factual
14   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. (quoting
15   Twombly, 550 U.S. at 570); see also Fed. R. Civ. P. 12(b)(6). A claim is facially plausible
16   when the facts pled “allow the court to draw the reasonable inference that the defendant is
17   liable for the misconduct alleged.” Iqbal, 556 U.S. at 677 (citing Twombly, 550 U.S. at
18   556). That is not to say that the claim must be probable, but there must be “more than a
19   sheer possibility that a defendant has acted unlawfully.” Id. Facts “‘merely consistent
20   with’ a defendant’s liability” fall short of a plausible entitlement to relief. Id. (quoting
21   Twombly, 550 U.S. at 557). Further, the Court need not accept as true “legal conclusions”
22   contained in the complaint. Id. This review requires context-specific analysis involving
23   the Court’s “judicial experience and common sense.”              Id. at 678 (citation omitted).
24   “[W]here the well-pleaded facts do not permit the court to infer more than the mere
25   possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that the
26   pleader is entitled to relief.’” Id.
27          Where a complaint does not survive 12(b)(6) analysis, the Court will grant leave to
28   amend unless it determines that no modified contention “consistent with the challenged

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 1   pleading . . . [will] cure the deficiency.” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d
 2   655, 658 (9th Cir. 1992) (quoting Schriber Distrib. Co. v. Serv-Well Furniture Co., 806
 3   F.2d 1393, 1401 (9th Cir. 1986)).
 4                                           ANALYSIS
 5   I.    General Jurisdiction
 6         General personal jurisdiction allows a plaintiff to hale a nonresident defendant into
 7   the forum state’s court “to answer for any of its activities anywhere in the world.” Martinez
 8   v. Aero Caribbean, 764 F.3d 1062, 1070 (9th Cir. 2014) (quoting Schwarzenegger, 374
 9   F.3d at 801), cert. denied, 135 S. Ct. 2310 (2015). A court has general personal jurisdiction
10   over a foreign corporation to hear any and all claims against the foreign corporation when
11   its affiliations with a State are “so ‘continuous and systematic’ as to render [it] essentially
12   at home in the forum State.” Daimler, 571 U.S. at 127 (quoting Goodyear Dunlop Tires
13   Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011); and citing Helicopteros Nacionales
14   de Colom., S.A. v. Hall, 466 U.S. 408, 414 n.9 (1984)). To be essentially at home in the
15   forum state, a foreign corporation must be comparable to a domestic enterprise in that state.
16   See id.
17         A corporation will primarily be “at home” for the purposes of general jurisdiction in
18   two paradigmatic forums: its place of incorporation and its principal place of business. Id.
19   at 137 (citing Goodyear, 564 U.S. at 924). General jurisdiction is not limited to these two
20   forums, but will only be available elsewhere in the “exceptional case” where its affiliations
21   with a forum are “so substantial and of such nature as to render the corporation at home.”
22   Id. at 138 n.19; see also Martinez, 764 F.3d at 1070. Those affiliations or contacts must
23   be “constant and pervasive.” Daimler, 571 U.S. at 122. To determine whether an
24   exceptional case exists that justifies general jurisdiction, the Court must conduct “an
25   appraisal of a corporation’s activities in their entirety, nationwide, and worldwide.” Id. at
26   139 n.20. “A corporation that operates in many places can scarcely be deemed at home in
27   all of them.” Id.
28   ///

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 1        A. Whether the Court Has General Jurisdiction over Lion Capital and Big Catch
 2          1. Defendants’ Arguments
 3          Defendants argue that there is no general jurisdiction over Lion Capital and Big
 4   Catch. (MTD 18.) Specifically, they contend Lion Capital is organized under the laws of
 5   the U.K. and has its principal place of business in the U.K. (Id. (citing Brown Decl. ¶ 3–
 6   4; 10–11, 15).) Big Catch is organized under the laws of the Cayman Islands and has no
 7   employees or offices in the United States. (Id. (citing Brown Decl. ¶ 18).) Defendants
 8   acknowledge that Big Catch has a New York mailing address but cite an unpublished
 9   district court opinion for the proposition that a mailing address is insufficient to establish
10   a principal place of business. (Id. (citing In re Hydroxycut Mktg. & Sales Practices Litig.,
11   No. 09 MD 2087-BTM (AJB), 2010 WL 2998855, at *3 (S.D. Cal. July 29, 2010); and
12   Brown Decl. ¶ 21).)
13          2. Plaintiffs’ Arguments
14          Plaintiff the Cherokee Nation contends that Lion Capital and Big Catch are subject
15   to the Court’s general jurisdiction.11 (Nation Opp’n 27–28.) Plaintiff points to several
16   facts purporting to show Lion Capital’s presence in the United States. These include: Lion
17   Capital repeatedly held itself out as having a presence in New York, (id. at 28 (citing
18   LION_6955, at 2; and LION_4213)),12 Lion Capital availed itself of the U.S. Patent and
19   Trademark Office by registering two trademarks and using the United States judicial
20   system to defend those trademarks, (id.); Lion Capital members reside in the United States,
21   (id. at 28); and Lion Capital members attended Bumble Bee and industry-related meetings,
22
23   11
        In advancing this theory, the Cherokee Nation aggregates two arguments together: first, that Lion
24   Capital, by itself, has sufficient contacts to subject it to general jurisdiction; and second, that Lion
     Americas’ contacts should be imputed to Lion Capital because the former is an alter ego of the latter. (See
25   Nation Opp’n 28–31.) The Court addresses the first argument here and the second (alter ego) argument
     below, see infra section I.C. The Bashas Plaintiffs do not assert that the Court has general personal
26   jurisdiction over either Lion Capital or Big Catch. (See Bashas Opp’n 31–43.)
     12
        A brief explanation of exhibit pin citations is relevant here. The Cherokee Nation decided not to
27   organize their evidentiary filings into numbered exhibits, other than one single exhibit numbering more
28   than 4,200 pages. Instead, Plaintiff cites to the individual page numbers produced during discovery. These
     pages start with the prefix LION_. The Court will cite these pages as the Cherokee Nation does.

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 1   as well as regular board meetings in California, (id. at 28–29). Plaintiff, therefore, contends
 2   that Lion Capital has continuous and systemic contacts with California to justify general
 3   personal jurisdiction. (Id. at 30.)
 4         The DPP Plaintiffs also argue general jurisdiction is appropriate. They contend that
 5   the vast majority of Lion Capital’s business focuses on the United States. (DPP Opp’n 24.)
 6   For example, Lion Capital previously testified in another lawsuit that two-thirds of its
 7   capital comes from U.S. investors and many of the companies owned by Lion Capital’s
 8   funds are U.S. companies. (See id. (citing Lion Capital LLP v. Stone Lion Capital Partners
 9   L.P., No. 91191681, 2013 WL 2329834, at *4 (T.T.A.B. Jan. 18, 2013)).) The DPP
10   Plaintiffs also point out that Lion Capital advertises a “hands on” approach with respect to
11   its portfolio companies, including Bumble Bee; thus, Defendants are involved in U.S.
12   businesses. (See id. at 25.) Thus, the DPP Plaintiffs urge the Court to find Lion Capital
13   subject to the “exceptional case” requirement.
14         3. Defendants’ Reply
15         In reply, Defendants reiterate that Plaintiffs fail to establish either Lion Capital or
16   Big Catch are essentially at home in the United States and that general jurisdiction does
17   not exist despite the presence of a few former Lion Capital members and Big Catch
18   shareholders in the United States. (Reply 10.) In support of this proposition, Defendants
19   cite cases holding that a court should not exercise general personal jurisdiction over a
20   limited partnership based solely on the citizenship of its members. (Id. at 10–11 (citing
21   Carruth v. Michot, No. A-15-CA-189-SS, 2015 WL 6506550, at *7 (W.D. Tex. Oct. 26,
22   2015); and Duncanson v. Wine & Canvas IP Holdings LLC, No. 16-cv-788-SEB-DML,
23   2017 WL 6994541, at *4 n.3 (S.D. Ind. Apr. 20, 2017)).)
24         4. Court’s Analysis
25             a. Paradigmatic Locations
26         The paradigmatic location for general jurisdiction depends, in part, on the type of
27   entity; for an individual it is her domicile, or for a corporation it is where the corporation
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 1   is fairly regarded as “at home.”13 Daimler, 571 U.S. at 137 (citing Goodyear, 564 U.S. at
 2   924). “With respect to a corporation, the place of incorporation and principal place of
 3   business are ‘paradig[m] . . . bases for general jurisdiction.’”14 Id. (alterations in original)
 4   (citation omitted).
 5          Considering the evidence submitted by the parties, the overwhelming conclusion is
 6   that Lion Capital can fairly be regarded at home in the United Kingdom. Lion Capital’s
 7
 8
 9   13
        Plaintiff the Cherokee Nation argues that Defendants’ reliance on Daimler is “wholly inapposite.”
     (Nation Opp’n 28 n.31.) Plaintiff attempts to distinguish Daimler as turning on whether there could be
10   jurisdiction over a foreign defendant based on events occurring outside the United States, but the events
     here took place inside, and the harm occurred within, the United States. (See id.)
11            Plaintiff’s reading of Daimler is incorrect. The location of the events in question and the location
12   of the harm is irrelevant for general jurisdiction. General jurisdiction arises where “the continuous
     corporate operations within a state [are] so substantial and of such a nature as to justify suit . . . on causes
13   of action arising from dealings entirely distinct from those activities.” Daimler, 571 U.S. at 138
     (alterations in original) (quoting Int’l Shoe, 326 U.S. at 318). Any argument regarding events and harms
14   directly tied to this case are appropriately made with regard to specific jurisdiction, not general
     jurisdiction. See also BNSF Railway Co. v. Tyrrell, 137 S. Ct. 1549, 1558–59 (2017) (“The Fourteenth
15   Amendment due process constraint described in Daimler . . . applies to all state-court assertions of general
16   jurisdiction over nonresident defendants; the constraint does not vary with the type of claim asserted or
     business enterprise sued.”).
     14
17      Neither Lion Capital nor Big Catch is a corporation; they are a limited liability partnership and a limited
     partnership, respectively. (See Brown Decl. ¶¶ 3, 18.) Generally, courts apply Daimler to non-corporate
18   business entities. See Waldman v. Palestine Liberation Org., 835 F.3d 317, 332 (2d Cir. 2016), (“[T]here
     is no reason to invent a different test for general personal jurisdiction depending on whether the defendant
19   is an individual, a corporation, or another entity.”); see also McCullough v. Royal Caribbean Cruises,
20   Ltd., 268 F. Supp. 3d 1336, 1344 (S.D. Fla. 2017) (agreeing with Waldman and applying Daimler to a
     limited liability company); see also Am. Guarantee & Liability Ins. Co. v. Arch Ins. Co., No. 17-582, 2017
21   WL 4842413, at *6 (W.D. Pa. Oct. 26, 2017) (collecting cases). The Court agrees with Waldman and
     applies it here to the non-corporate entities.
22            One final question remains: should the Court apply the place of organization and principal place
     of business paradigm to limited partnerships? Waldman did not distinguish between where the association
23   was formed and its principal place of business and instead characterized the appropriate test as: where the
24   defendants were “fairly regarded as at home” and answered the test as a singular location. 835 F.3d at
     332. Likewise, the district court in McCullough limited its analysis to a singular location where the
25   defendant limited liability company could fairly be regarded as at home and did not consider the principal
     place of business—place of organization dichotomy. See 268 F. Supp. 3d at 1344–45. But, as the district
26   court in Finn v. Great Plains Lending, LLC, No. 15-4658, 2016 WL 705242, at *3 n.3 (E.D. Pa. Feb. 23,
     2016), points out, Daimler itself considered a subsidiary (Mercedes-Benz USA, LLC) that was a limited
27   liability company and applied the corporation’s paradigmatic locations to the LLC. See 571 U.S. at 121.
28   The Court follows Daimler’s two-part paradigmatic location approach for general jurisdiction and tests
     both the place of organization and the principal place of business.

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 1   principal place of business is the United Kingdom because its primary office is located in
 2   London, its employees are located in the U.K., and the majority of Lion Capital’s
 3   designated members and members are domiciled in the U.K. (See Brown Decl. ¶¶ 4, 8–
 4   11; LION_14427, at 27–39.)15 Lion Capital was organized under the laws of the U.K.
 5   (Brown Decl. ¶ 3.) The clear import is that Lion Capital is at home in the United Kingdom,
 6   not the United States.
 7          Big Catch is a holding company with no employees and no offices and was organized
 8   under the laws of the Cayman Islands. (Brown Decl. ¶¶ 18, 21.) Its partnership agreement
 9   recites that Big Catch’s principal place of business was the former Lion Americas’ office
10   in New York or wherever the general partner designates.                       (LION_14788, at 794.)
11   Defendants maintain that the New York address is simply a mailing address and is
12   insufficient for general jurisdiction. (MTD 18 n.5 (citing In re Hydroxycut Mktg. & Sales
13   Practices Litig., 2010 WL 2998855, at *3).) Plaintiff’s only counterargument is that the
14   partnership agreement says “principal place of business,” thus Big Catch must have a
15   principal place of business in New York. (Nation Opp’n 13.)
16          The Court agrees with Defendants as to Big Catch. Big Catch has no office of its
17   own; it listed Lion Americas’ New York office as its principal place of business in the
18   general partnership agreement. But, the New York office is simply a mailing address for
19   Big Catch. This is evident because the partnership agreement says “c/o” or care of the New
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     15
        Mr. Brown’s declaration only discusses the residency of current Lion Capital members and does not
22   account for Lion Capital members, with U.S. domicile, who have apparently resigned from the firm before
     the filing of these motions. There is limited case law discussing the appropriate time period to assess
23   general jurisdiction. “[C]ourts must examine the defendant’s contacts with the forum at the time of the
24   events underlying the dispute when determining whether they have jurisdiction.” Steel v. United States,
     813 F.2d 1545, 1549 (9th Cir. 1987); see Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 569
25   (2d Cir. 1996) (noting that courts will assess general jurisdiction over a period of years prior to the
     plaintiff’s filing of a complaint). Accordingly, the Court considers the Lion Capital members who were
26   members during the alleged conspiracy, which would include members domiciled in the U.S. This
     recognition does not alter the ultimate conclusion here: the majority of Lion Capital’s contacts point to it
27   being “at home” in the U.K. For example, as of a September 2012 reporting, twenty-one out of twenty-
28   five of Lion Capital’s partners were domiciled in the United Kingdom. (See LION_14360.) The four
     non-U.K. partners were the Lion Americas executives residing in America.

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 1   York address and there is no indication whether or not Big Catch conducts independent
 2   activities there. Big Catch is merely a holding company and designating an already existing
 3   office to act as a mailing address does not confer general personal jurisdiction. Therefore,
 4   the Court finds neither Lion Capital nor Big Catch is at home in the United States under
 5   the two paradigmatic locations.
 6             b. Exceptional Case Requirement
 7         Finally, the Court turns to the exceptional case requirement; two cases illustrate the
 8   requirements to apply general jurisdiction. In Helicopteros Nacionales de Colombia, S.A.
 9   v. Hall, 466 U.S. at 418, the Supreme Court held that a Texas state court did not have
10   general personal jurisdiction over a Colombian corporation. There, the corporation did not
11   have a place of business in Texas and was never licensed to do business in Texas. Id. at
12   416. Instead, the contacts amounted to the chief executive traveling to Houston for
13   negotiations, accepting checks drawn from a Houston bank, purchasing helicopters from a
14   Texas corporation, and sending personnel to Texas for training. Id. The Supreme Court
15   held that these contacts were insufficient to satisfy the due process requirements of personal
16   jurisdiction. Id. at 418. Next, in Ranza v. Nike, Inc., the Ninth Circuit held that no general
17   personal jurisdiction existed in Oregon where a subsidiary sent employees and products to
18   Oregon and engaged in some business there. 793 F.3d 1059, 1070 (9th Cir. 2015). Instead,
19   the relevant inquiry “examines a corporation’s activities worldwide—not just the extent of
20   its contacts in the forum state—to determine where it can be rightly considered at home.”
21   Id. (citing Daimler, 571 U.S. at 139 n.20). The Ranza court applied Daimler and
22   recognized that Nike’s Dutch-based subsidiary’s activities in Oregon were limited
23   compared to its extensive European contacts. Id. Therefore, the subsidiary could not be
24   considered at home in Oregon. Id. at 1069–70.
25         Here, Lion Capital’s designated member allegedly traveled to the United States to
26   attend board of directors’ meetings. (See, e.g., LION_4334.) Lion Capital availed itself of
27   the PTO by registering two trademarks and later defended those trademarks in the U.S.
28   judicial system. Lion members attending board meetings are similar to the facts of

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 1   Helicopteros and Ranza because, like those cases, Lion’s executive(s) traveled to the
 2   relevant forum. And, using the PTO and the courts to defend a trademark is similar to
 3   conducting limited business in Helicopteros (purchasing helicopters) and Ranza (sending
 4   products to Oregon). Neither is sufficient to meet the exceptional case requirement.
 5         The presence and holding out to the public of the office in New York and, later, Los
 6   Angeles, presents a more viable contact to assess the exceptional case requirement. It is
 7   clear that Lion Capital held out Lion Americas’ North American office as belonging to
 8   Lion Capital generally or Lion Capital specifically. (See LION_6955, at 2; LION_4213.)
 9   Yet, post-Daimler, the presence of offices in the forum state does not, by itself, render a
10   defendant subject to general jurisdiction. See 571 U.S. at 158 (Sotomayor, J., concurring
11   in the judgment) (“[T]he majority holds today that Daimler is not subject to general
12   jurisdiction in California despite its multiple offices, continuous operations, and billions of
13   dollars’ worth of sales there.”). Lion Capital held out the North America office as one of
14   its own, but the North American office was not Lion Capital’s primary office. Its London
15   office was and is home to the majority of Lion Capital employees and was where the Lion
16   members ultimately directed operations. (Brown Decl. ¶ 4.) Lion Capital manages its four
17   investment funds from the London office because, as Plaintiffs recognize, Lion Americas
18   is a “non-discretionary investment advisor” to Lion Capital. (Id. ¶¶ 29–30; see Nation
19   Opp’n 29.)
20         Daimler teaches that it is appropriate to compare business operations in the forum
21   state with an entity’s worldwide business activities. 571 U.S. at 139 n.20. The DPP
22   Plaintiffs elucidate evidence demonstrating that two-thirds of Lion Capital’s capital is from
23   U.S. investors and Lion Capital’s portfolio companies include U.S. and California-based
24   companies. (DPP Opp’n 24–25.) Again, this evidence does not rise to the level necessary
25   for general jurisdiction; the fact that capital comes from the United States and is invested
26   in the United States does not derogate the fact that Lion Capital controlled its investments
27   from London. See Daimler, 571 U.S. at 130 n.8 (noting that the Court’s opinion in Perkins
28   turned on the following: “All of [the defendant company’s] activities were directed by the

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 1   company’s president from within Ohio” (citing Perkins, 342 U.S. at 447–48)). The
 2   evidence demonstrates that Lion Capital’s operations in the United Kingdom are greater
 3   than those in the United States and it is at home in the U.K. Thus, Lion Capital’s activities
 4   do not rise to an exceptional case where general jurisdiction would be appropriate.
 5          Further, Big Catch does not meet the exceptional case requirement because it is a
 6   holding company. Plaintiff has not alleged any actions undertaken by Big Catch, which is
 7   not surprising as Big Catch is a holding company and not an operating company. Thus, it
 8   cannot meet the exceptional case requirement.
 9          In sum, the foregoing activities do not suggest that Lion Capital’s operations were
10   “so substantial and of such a nature as to render [it] at home in” the United States. Daimler,
11   571 U.S. at 139 n.19. The Court finds that neither Lion Capital nor Big Catch meet the
12   exceptional case requirement.          The Court finds it does not have general personal
13   jurisdiction over Lion Capital or Big Catch, based on their contacts alone.
14        B. Whether the Court Has General Jurisdiction over Lion Americas
15          Defendants do not dispute that Lion Americas is properly before this Court. Lion
16   Americas has a principal place of business in Santa Monica, California, which would
17   subject it to general jurisdiction in California, and thus the United States. (See Brown Decl.
18   ¶ 24.) Accordingly, this Court has personal jurisdiction over Lion Americas.
19        C. Whether Lion Americas’ Contacts Impute to Lion Capital
20          Plaintiff the Cherokee Nation argues “it is through [Lion] Americas that Lion Capital
21   solicits and engages in business in California, making itself ‘at home’ there.” (Nation
22   Opp’n 29 (citing Newport Components, Inc. v. NEC Home Electronics, Inc., 671 F. Supp.
23   1525, 1534 n.10 (C.D. Cal. 1987); and Daimler, 571 U.S. at 136).)16 While the Cherokee
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26   16
       The Bashas Plaintiffs briefly argue that Lion Capital is the alter ego of Lion Americas and, therefore,
     Lion Americas’ contacts should impute to Lion Capital. (Bashas Opp’n 34.) They contend, in one
27   sentence, that “Lion Capital and Lion Americas had significant employee overlap, held themselves out as
28   a single entity in emails and on their website, shared offices, and jointly control[led] the funds that
     purchased Bumble Bee.” (Id.) They make this argument only with regard to specific (not general)

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 1   Nation does not explicitly define its legal theory, essentially it seeks to impute Lion
 2   Americas’ contacts to Lion Capital for purposes of general jurisdiction. The DPP Plaintiffs
 3   are more explicit; they argue that Lion Capital and Lion Americas “function as one,” (DPP
 4   Opp’n 26), and Lion Capital is subject to the Court’s general personal jurisdiction because
 5   of Lion Americas’ California office, (see id. at 30).
 6          “The existence of a parent-subsidiary relationship is insufficient, on its own, to
 7   justify imputing one entity’s contacts with a forum state to another for the purpose of
 8   establishing personal jurisdiction.” Ranza, 793 F.3d at 1070 (citing Unocal, 248 F.3d at
 9   925–26). Generally, a parent corporation and its subsidiary are separate corporate forms,
10   id. (citing Dole Food Co. v. Patrickson, 538 U.S. 468, 474 (2003)), and the rule of corporate
11   separateness “insulates a parent corporation from liability created by its subsidiary,
12   notwithstanding the parent’s ownership of the subsidiary,” id. at 1071 (citing United States
13   v. Bestfoods, 524 U.S. 51, 61 (1998)).                  Despite the traditional rule of corporate
14   separateness, the corporate veil may be pierced in limited circumstances, including in
15   determining whether to exercise personal jurisdiction over a foreign defendant. Unocal,
16   248 F.3d at 926.
17          The Ninth Circuit previously held that district courts could test corporate
18   separateness through either an agency relationship or an alter ego test. See id. (citing El-
19   Fadl v. Central Bank of Jordan, 75 F.3d 668, 676 (D.C. Cir. 1996)). Following the
20   Supreme Court’s opinion in Daimler, the Ninth Circuit has held that only the alter ego test
21   remains viable to analyze corporate separateness for purposes of general jurisdiction.
22   Ranza, 793 F.3d at 1071. Federal courts apply the law of the forum state to determine
23   whether a corporation is an alter ego of an individual.17 S.E.C. v. Hickey, 322 F.3d 1123,
24   1128 (9th Cir. 2003) (citing Towe Antique Ford Found. v. IRS, 999 F.2d 1387, 1391 (9th
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26
     jurisdiction. Because the Bashas Plaintiffs’ argument is duplicative of the Cherokee Nation’s arguments,
27   the Court only discusses the latter here.
     17
28      While the relevant forum to measure contacts for the Clayton Act is the United States, the parties rely
     on California law with reference to the alter ego theories and the Court will do the same.

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 1   Cir. 1993)). To satisfy the alter ego exception, the plaintiff must demonstrate “(1) that
 2   there is such unity of interest and ownership that the separate personalities [of the two
 3   entities] no longer exist and (2) that failure to disregard [their separate identities] would
 4   result in fraud or injustice.” Unocal, 248 F.3d at 926 (alterations in original) (quoting
 5   AT&T, 94 F.3d at 591); accord Automotriz Del Golfo De Cal. S. A. De C. V. v. Resnick, 47
 6   Cal. 2d 792, 796 (1957).
 7          Daimler also makes clear that even if the Court determines that one entity is the alter
 8   ego of the other, then foreign entity’s activities in the forum jurisdiction must still meet the
 9   general jurisdiction requirements of being essentially “at home.” 571 U.S. at 136 (“Even
10   if we were to assume that [the domestic subsidiary] is at home in California, and further to
11   assume that [its] contacts are imputable to [the foreign parent corporation], there would
12   still be no basis to subject [the parent] to general jurisdiction in California, for [the parent’s]
13   slim contacts with the State hardly render it at home there.” (footnote omitted)).
14          The Court applies the two-part alter ego test to determine whether Lion Americas’
15   contacts with the United States impute to Lion Capital.
16          1. Unity of Interest
17              a. Plaintiffs’ Arguments
18          Plaintiffs elucidate three broad categories of control by Lion Capital over Lion
19   Americas. First, Plaintiffs rely on the method by which Lion Capital does business and
20   holds itself out to the public. For example, Lion Capital held itself out as having offices in
21   both London and New York, and later California. (Nation Opp’n 11 (citing LION_6955,
22   at 2; LION_4213; LION_28076); id. at 28 (citing LION_6955, at 2); DPP Opp’n 27–28.)
23   At least eight of Lion Capital’s members18 lived, worked, and were domiciled in the United
24   States. (Id. (citing LION_14427); id. at 29 (citing, e.g., LION_12617).) And, one of Lion
25
26   18
       The individuals cited are Lion Americas’ employees: Jeff Chang, Eric Lindberg, and Jacob Capps, Kelly
     Patrick Mayer, and Rory O’Connor. (See Nation Opp’n 14–15.) Plaintiff submits evidence that these
27   Lion Americas’ executives were also Lion Capital members. (Id. at 14 (citing, e.g., LION_5919;
28   LION_14310, at 316).) These executives had Lion Capital email addresses and corresponded to third-
     party entities “on behalf of Lion Capital.” (Id. at 28 (quoting LION_4213).)

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 1   Capital’s designated members allegedly attended at least nine board meetings in California.
 2   (Id. at 11–12 (citing, e.g., LION_4334).) The Cherokee Nation points to Lion Capital’s
 3   own admission that Lion Americas lacks any authority to make any investment decisions
 4   because Lion Americas is a “non-discretionary investment advisor” to Lion Capital. (Id.
 5   at 29 (quoting MTD 10–11).) The DPP Plaintiffs contend that Lion Capital entered into a
 6   “management agreement” with Bumble Bee to provide “advisory services,” but Lion
 7   Americas employees were the ones providing the advisory services. (DPP Opp’n 28.)
 8           Second, several employees had roles in both Lion Capital and Lion Americas. For
 9   example, Mr. Richard Lewis was the director of Lion Capital Management Services
10   Limited, which is a Lion Capital member; Mr. Lewis was also the Chief Compliance
11   Officer of Lion Americas. (Nation Opp’n 14 (citing LION_14076, at 90).) And, Mr. Rory
12   O’Connor was designated as Lion Americas’ agent for service of process, (id. at 14–15
13   (citing LION_14062)), while also a Lion Capital member, (id. at 15 (citing LION_14360,
14   at 377)). Lion’s websites of these gentlemen do not distinguish between Lion Capital and
15   Lion Americas. (DPP Opp’n 28–29.) And, Lion Capital has disclosed that it was paying
16   wages to select Lion Americas’ employees at the same time Lion Americas was paying
17   those individuals. (Id. at 29 (citing Brown Decl., Ex. E).) Finally, Lion Capital’s annual
18   return identified Lion Americas’ executives (Chang and Capps) as members of Lion
19   Capital. (Id. (citing Declaration of Samantha Stein (“Stein Decl.”), Ex. 34, ECF No. 1292-
20   13).)
21           Third, Lion Capital submitted a Securities and Exchange Commission (“SEC”)
22   Form ADV. That form identified Lion Americas as a “related person” controlled by Lion
23   Capital, states the two entities are under common control, and states the two entities share
24   supervised persons. (Nation Opp’n 29 (citing LION_14557, at 563; and LION_14667, at
25   673–74).) Further, the same filing disclosed that Lion Americas kept its “books and
26   records” with Lion Capital (DPP Opp’n 27.) Based on this evidence, Plaintiffs conclude
27   that Lion Capital controls Lion Americas such that personal jurisdiction would be
28   appropriate over Lion Capital. (Id. at 29–30.)

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 1             b. Defendants’ Reply
 2          Defendants argue that Plaintiffs fail to establish unity of interest. (Four Track Reply
 3   17.)19 Mr. Brown declared that Lion Americas and Lion Capital maintain strict divisions
 4   between their management structures. (Brown Decl. ¶¶ 27, 30.) Defendants contend that
 5   none of Plaintiffs’ arguments to the contrary rebut this testimony. First, there is an SEC
 6   filing that purports to show “control” of Lion Americas by Lion Capital Defendants state
 7   that “ownership of securities” is sufficient to satisfy the SEC’s definition of control and,
 8   here, Lion America’s is a wholly-owned subsidiary, i.e., an asset. (Id. at 18.) Second,
 9   Defendants aver that the existence of common officers and directors between a parent and
10   subsidiary do not demonstrate unity of interest and Plaintiffs fail to rebut the fact that each
11   common officer or director wore the appropriate “hat” when making corporate and
12   operational decisions. (See id. at 19 (citing Sonora Diamond, 83 Cal. App. 4th at 548–
13   49).) For example, documents produced by Defendants show that Lion Capital and Lion
14   Americas separately compensated their personnel. (See Brown Decl., Ex. E.) Thus, the
15   two entities maintained corporate formalities.
16          Third, Defendants contend that Lion Americas’ oversight of Bumble Bee supports
17   their jurisdictional arguments. (See id.) It was Lion Americas, not Lion Capital that
18   monitored Bumble Bee. Fourth, Defendants argue that a website and email signatures that
19   listed Lion Americas’ personnel as working for Lion Capital do not demonstrate control.
20   (Id. (citing Corcoran v. CVS Health Corp., 169 F. Supp. 3d 970, 984 (N.D. Cal. 2016)).)
21             c. Court’s Analysis
22          The unity of interest element requires “a showing that the parent controls the
23   subsidiary to such a degree as to render the latter the mere instrumentality of the former.”
24   Ranza, 793 F.3d at 1073 (quoting Unocal, 248 F.3d at 926). The Ninth Circuit has
25   described various situations where piercing the corporate veil may be appropriate. For
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28    Defendants do not address the Lion Americas/Lion Capital alter ego argument in their Bashas/Cherokee
     Nation moving papers. Instead, they rebut the arguments in the Four Track Reply brief.

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 1   example, the unity of interest test may be satisfied where the parent uses the subsidiary as
 2   a “marketing conduit” and attempts to shield itself from liability based on the subsidiary’s
 3   activities. Unocal, 248 F.3d at 926 (citing United States v. Toyota Motor Corp., 561 F.
 4   Supp. 354, 359 (C.D. Cal. 1983)). Unity of interest may also be met when the parent
 5   corporation directs every facet of the subsidiary, “from broad policy decisions to routine
 6   matters of day-to-day operation[s].” Id. at 926–27 (quoting Rollins Burdick Hunter of S.
 7   Cal., Inc. v. Alexander & Alexander Servs., Inc., 206 Cal. App. 3d 1, 11 (Ct. App. 1988)).
 8         Conversely, in Unocal, the Ninth Circuit discussed situations when alter ego is not
 9   appropriate. There, the court held that the plaintiff did not meet the unity of interest prong
10   when the evidence demonstrated “an active parent corporation involved directly in
11   decision-making about its subsidiaries’ holdings,” but the parent and subsidiaries
12   “observe[d] all of the corporate formalities necessary to maintain corporate separateness.”
13   248 F.3d at 928. The Unocal court determined the following evidence to be insufficient to
14   establish unity of interest:
15                (1) involvement in its subsidiaries’ acquisitions, divestments and
                  capital expenditures; (2) formulation of general business policies
16
                  and strategies applicable to its subsidiaries, including
17                specialization in particular areas of commerce; (3) provision of
                  loans and other types of financing to subsidiaries; (4)
18
                  maintenance of overlapping directors and officers with its
19                subsidiaries; and (5) alleged undercapitalization of its
                  subsidiaries.
20
21   Unocal, 248 F.3d at 927; see also Ranza, 793 F.3d at 1073–74 (citing facts with approval).
22   Likewise, in Ranza, the Ninth Circuit had evidence that each entity “lease[d] its own
23   facilities, maintain[ed] its own accounting books and records, enter[ed] into contracts on
24   its own and pa[id] its own taxes.” Ranza, 793 F.3d at 1074. The court also recognized that
25   the two entities had separate boards of directors, though one director served on both
26   company’s boards. Id. The Ranza court found such evidence insufficient to establish unity
27   of interest, noting that “[s]ome employees and management personnel move between the
28   entities, but that does not undermine the entities’ formal separation.” Id. (citing Kramer

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 1   Motors, Inc. v. British Leyland, Ltd., 628 F.2d 1175, 1177 (9th Cir. 1980)).
 2         Turning to the case at hand, the Court begins with the baseline observation that Lion
 3   Americas is a wholly owned subsidiary of Lion Capital. (Brown Decl. ¶ 6.) Defendants
 4   state that Lion Capital and Lion Americas “maintain strict divisions between their
 5   management structures in order to comply with the Alternative Investment Fund Managers
 6   Directive (“AIFMD”), a European Union regulation.” (Id. ¶ 27.) To ignore the corporate
 7   distinction between these two entities, Plaintiffs must demonstrate more than direct
 8   involvement in financing and macro-management of the subsidiary; Lion Capital must
 9   “dictate [e]very facet [of Lion Americas’] business.” Unocal, 248 F.3d at 926 (first
10   alteration in original) (internal quotation and citations omitted).
11         Plaintiffs point to shared offices between Lion Americas and Lion Capital. It is clear
12   that Lion Americas had an office in New York, which later moved to Los Angeles. It is
13   also certain that both Lion Americas and Lion Capital held out these North America offices
14   as generally belonging to the Lion entities. It is not evident from the record which entity
15   actually owned the offices. Other district courts have found that simply because a parent
16   holds out its subsidiary’s office without the parent mentioning that the latter is a separate
17   entity is not definitive evidence that the parent controls day-to-day operations over the
18   subsidiary. See Pokemon Co. Int’l, Inc. v. Shopify, Inc., No. 16-MC-80272-KAW, 2017
19   WL 697520, at *4 (N.D. Cal. Feb. 22, 2017) (citing Maple Leaf Adventures Corp. v. Jet
20   Tern Marine Co., No. 15-cv-2504-AJB-BGS, 2016 WL 3063956, at *4, 8 (S.D. Cal. Mar.
21   11, 2016)). The Court does not discount that use of the same office is one factor under
22   California alter ego analysis, see Associated Vendors, Inc. v. Oakland Meat Co., 210 Cal.
23   App. 2d 825, 839 (Ct. App. 1962), but without further evidence of day-to-day control, a
24   shared office is unpersuasive.
25         Next, Plaintiffs point to shared members between Lion Americas and Lion Capital.
26   For example, Messrs. Lindberg, Lewis, O’Connor all had roles in both Lion Americas and
27   Lion Capital And, those individuals held themselves out to the public, both on websites
28   and email as working for Lion Capital Yet, Unocal and Ranza both make clear that shared

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 1   members is not sufficient to establish alter ego liability. See Ranza, 793 F.3d at 1074
 2   Unocal, 248 F.3d at 927; see also Kramer Motors, 628 F.2d at 1177 (finding no alter ego
 3   relationship where parent company guaranteed loans for subsidiary, approved major
 4   decisions, placed several directors on the subsidiary’s board, and was closely involved in
 5   pricing decisions); In re Conseco Ins. Co. Annuity Mktg. & Sales Practices Litig., No. C-
 6   05-04726 RMW, 2008 WL 4544441, at *5 (N.D. Cal. Sept. 30, 2008) (finding insufficient
 7   unity of interest where officers shared positions and share the same headquarters). The
 8   overlap of board members or executive officers here does not demonstrate that Lion Capital
 9   exercised day to day control over the operations of Lion Americas. This conclusion is
10   buttressed by Lion Capital’s compensation structure, which demonstrates that the two
11   entities maintained different pay structures.              Lion Americas paid Lion Americas’
12   employees; Lion Capital generally did not compensate Lion Americas’ employees.20 The
13   Court is not persuaded by Lion entities sharing a website or email signature. Separate
14   corporate entities that hold themselves out to the public via websites as a singular entity
15   does not demonstrate unity of interest. See Corcoran, 169 F. Supp. 3d at 984 (collecting
16   cases).
17          The remaining evidence submitted by Plaintiffs is likewise unpersuasive. Lion
18   Capital’s Form ADV demonstrates that Lion Americas was a “related person” and that the
19   two entities are under common control. (See LION_14557, at 563; LION_14667, at 673–
20   74.) As the DPP Plaintiffs explain, the SEC defines control as “[t]he power, directly or
21   indirectly, to direct the management or policies of [Lion Americas] whether through
22   ownership of securities, by contract, or otherwise.”                (DPP Opp’n 27 (alterations in
23   original).) Directing the management or policies of a wholly owned subsidiary is entirely
24   in line with Ranza and Unocal’s admonition that a parent may be involved in managing its
25   subsidiary as long as they maintain corporate formalities necessary for corporate
26
27   20
       However, it does appear that Lion Capital did compensate a few Lion Americas employees who also
28   received distributions for their status as Lion Capital partners. The Court addresses those contacts below.
     See infra section II.D.

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 1   separateness. Moreover, the fact that Lion Capital complied with the SEC’s disclosure
 2   requirements in the first instance buttresses the conclusion that it observes corporate
 3   formalities. Finally, Lion Americas’ status as a “non-discretionary investment advisor” to
 4   Lion Capital does not explain how such a status deviates from the normal parent-subsidiary
 5   relationship.
 6         To summarize the Ninth Circuit’s guidance concerning unity of interest: “A parent
 7   corporation may be directly involved in financing and macro-management of its
 8   subsidiaries . . . without exposing itself to a charge that each subsidiary is merely its alter
 9   ego.” Ranza, 793 F.3d at 1074 (quoting Unocal, 248 F.3d at 927).                The evidence
10   demonstrates that Lion Capital exercised some level of control over Lion Americas and
11   shared some personnel with it. However, Plaintiffs have not carried their burden to
12   demonstrate that Lion Capital crossed from macro-management to day-to-day control over
13   its subsidiary. The Court finds there was no unity of interest between Lion Americas and
14   Lion Capital.
15         2. Alter Ego Conclusion
16         The DPP Plaintiffs argue that an inequitable result would follow because Lion
17   Capital would not be held accountable for its acts and involvement in Bumble Bee. (DPP
18   Opp’n 29.) Because Plaintiffs fail to carry their burden to demonstrate unity of interest,
19   the Court does not reach the inequitable result argument.
20         Deviating from the rule of corporate separateness is an extreme remedy, sparingly
21   used. Sonora Diamond Corp. v. Superior Court, 83 Cal. App. 4th 523, 539 (Ct. App. 2000)
22   (citing Calvert v. Huckins, 875 F. Supp. 674, 678 (E.D. Cal. 1995)). The facts here do not
23   rise to such an extreme level.       Accordingly, the Court finds that Plaintiffs fail to
24   demonstrate Lion Americas’ contact impute general personal jurisdiction to Lion Capital.
25         Finally, even if the Court were to assume that Lion Americas’ contacts impute to
26   Lion Capital, there is no still no basis to subject Lion Capital to general jurisdiction because
27   the combined Lion Americas and Lion Capital contacts with the United States are not
28   sufficient to render Lion Capital at home in the United States when considering the entirety

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 1   of Lion Capital’s contacts. See Daimler, 571 U.S. at 136–37. Even considering the Lion
 2   Americas’ employees, the majority of Lion’s employees reside and work in the U.K. (See
 3   Brown Decl. ¶¶ 15, 26.) The majority of Lion Capital’s partners are domiciled in the U.K.
 4   (Id. ¶¶ 8–11.) And, Lion Capital manages their investment funds from London; the United
 5   States office operates in an advisory capacity. (See id. ¶¶ 4, 12.) Lion Capital is at home
 6   in the United Kingdom, not the United States.
 7   II.   Specific Jurisdiction
 8         Due process “constrains a State’s authority to bind a nonresident defendant to a
 9   judgment of its courts.” Walden v. Fiore, 571 U.S. 277, 283 (2014) (citing World-Wide
10   Volkswagen Corp. v. Woodson, 444 U.S. 286, 291 (1980)). “A nonresident defendant must
11   have ‘certain minimum contacts with [the forum] such that the maintenance of the suit does
12   not offend ‘traditional notions of fair play and substantial justice.’” Axiom Foods, Inc. v.
13   Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017) (alteration in original) (quoting
14   Int’l Shoe, 326 U.S. at 316). “The inquiry whether a forum State may assert specific
15   jurisdiction over a nonresident defendant ‘focuses on the relationship among the defendant,
16   the forum, and the litigation.’” Walden, 571 U.S. at 283–84 (internal quotation marks
17   omitted) (quoting Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 775 (1984)).
18         There are two principles undergirding the defendant-focused inquiry. “First, the
19   relationship between the nonresident defendant, the forum, and the litigation ‘must arise
20   out of contacts that the “defendant himself” creates with the forum State.’” Axiom Foods,
21   874 F.3d at 1068 (quoting Walden, 571 U.S. at 284). “Second, the minimum contacts
22   analysis examines ‘the defendant’s contacts with the forum State itself, not the defendant’s
23   contacts with persons who reside there.’” Id. (quoting Walden, 571 U.S. at 285).
24         Courts apply a three-part test to exercise specific jurisdiction over a non-resident
25   defendant:
26                (1) the defendant either “purposefully direct[s]” its activities or
                  “purposefully avails” itself of the benefits afforded by the
27
                  forum’s laws; (2) the claim “arises out of or relates to the
28                defendant’s forum-related activities; and (3) the exercise of

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 1                jurisdiction [] comport[s] with fair play and substantial justice,
                  i.e., it [is] reasonable.”
 2
 3   Williams v. Yamaha Motor Co., 851 F.3d 1015, 1023 (9th Cir. 2017) (alterations in
 4   original) (quoting Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002)). The
 5   burden is on the plaintiff to establish the first two prongs. Axiom Foods, 874 F.3d at 1068
 6   (citing Schwarzenegger, 374 F.3d at 802). If the plaintiff satisfies the first two prongs then
 7   the defendant must present a “‘compelling case’ that exercise of jurisdiction would not be
 8   reasonable.” CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1076 (9th Cir.
 9   2011) (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476–78 (1985)).
10         Where a case sounds in a tort, courts employ the purposeful direction test. See Axiom
11   Foods, 874 F.3d at 1069 (citing Schwarzenegger, 374 F.3d at 802). Courts in this circuit
12   apply the purposeful direction test to antitrust cases. See In re Capacitors Antitrust Litig.,
13   No. 14-cv-3264-JD, 2015 WL 3638551, at *2 (N.D. Cal. June 11, 2015) (citing In re W.
14   States Wholesale Natural Gas Antitrust Litig., 715 F.3d 716, 743 (9th Cir. 2013), aff’d sub
15   nom. Oneok, Inc. v. Learjet, Inc., 135 S. Ct. 1591 (2015); and Fleury v. Cartier Int’l, No.
16   C–05–4525 EMC, 2006 WL 2934089, at *2 (N.D. Cal. Oct. 13, 2006)).
17         Before applying the Ninth Circuit’s three-part test for specific jurisdiction, the Court
18   takes a detour into the realm of alter egos and imputing contacts. Plaintiffs assert a variety
19   of facts and theories for the purposes of imputing the contacts of two entities already
20   subject to the Court’s jurisdiction—Bumble Bee and Lion Americas—to the two entities
21   beyond the Court’s jurisdiction—Lion Capital and Big Catch. The Court addresses
22   Plaintiffs’ Bumble Bee alter ego arguments first and then applies the traditional specific
23   jurisdiction test. Finally, the Court will address Big Catch’s alter ego status.
24      A. Whether Bumble Bee’s Contacts May Be Imputed to Lion Capital
25         The Bashas Plaintiffs contend that Lion Capital is an alter ego of Bumble Bee and
26   the Court should exercise personal jurisdiction over Lion Capital because of Bumble Bee’s
27   contacts. (Bashas Opp’n 27–31, 33.)
28   ///

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 1          1. Whether Lion Capital or Lion Americas Must Own Bumble Bee
 2          Before applying the two-part alter ego test, the Court addresses Defendants’
 3   threshold argument. Defendants argue that neither Lion Capital nor Lion Americas is a
 4   parent corporation to Bumble Bee. (MTD 25 (citing Brown Decl. ¶ 20); Reply 19.) From
 5   that premise, Defendants conclude that Plaintiffs’ alter ego analysis fails because Plaintiffs
 6   admit that the Lion entities are not equitable owners of Bumble Bee. (Reply 19 (citing
 7   Sonora Diamond, 83 Cal. App. 4th at 538).) Plaintiffs contend that the alter ego test is a
 8   functional, not formal test and does not turn on formal corporate ownership. (Nation Opp’n
 9   39 n.39 (citing United States v. Standard Beauty Supply Stores, Inc., 561 F.2d 774, 777
10   (9th Cir. 1977); Bashas Opp’n 30 n.20 (same).)
11          The general rule is that a subsidiary corporation is “one that is controlled by another
12   corporation by reason of the latter’s ownership of at least a majority of the shares of capital
13   stock.” 1 William Meade Fletcher, Cyclopedia of the Law of Corporations, § 26 (rev. ed.
14   2017); see also Dole Food, 538 U.S. at 475 (discussing general rule for subsidiaries of
15   subsidiaries). The Ninth Circuit has previously held that “[o]wnership is a prerequisite to
16   alter ego liability, and not a mere ‘factor’ or ‘guideline.’” Hickey, 322 F.3d at 1128.
17   However, the circuit later clarified in In re Schwarzkopf, 626 F.3d 1032, 1038 (9th Cir.
18   2010), that “Hickey . . . did not foreclose the possibility that equitable ownership might be
19   sufficient in some contexts.” Schwarzkopf went on to consider several California decisions
20   finding equitable ownership. See id. at 1038–39.
21          Here, neither Lion Capital nor Lion Americas directly owns Bumble Bee.21 Rather,
22   one of Lion Capital’s investment funds owns Big Catch, which owns Bumble Bee’s assets.
23
24
25   21
        Big Catch ultimately holds Bumble Bee’s assets and a limited holding company—Lion/Big Catch
     Ltd.—controls Big Catch. (Brown Decl. ¶¶ 20, 23.) Lion Capital is not one of the sixty-seven owners of
26   Big Catch stock. (LION_14788, at 845–915, 937–42.) It appears that Lion/Latimer GP II (Guernsey)
     Ltd. is the general partner of Lion/Big Catch Ltd. (LION_14788, at 917.) In turn, the Lion/Latimer GP
27   II fund is a related party to a third party entity, Lion Capital General Partnership LLP. (Ex. 54, at 11.)
28   Lion Capital General Partnership LLP’s designated members are the same as Lion Capital—Lyndon Lea
     and Robert Darwent. (Id. at 4.)

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 1   Lion Capital does not own its investment fund, but controls the fund and directs its
 2   investments. Thus, there is some nexus of control between Lion Capital and Bumble Bee,
 3   but Plaintiffs have not demonstrated direct stock ownership.
 4         The next issue is whether Lion Capital has equitable ownership of Bumble Bee,
 5   despite not having direct ownership. Schwarzkopf indicates that equitable ownership is
 6   permitted under California law. The DPP Plaintiffs take up this argument stating that Lion
 7   Capital acts as Bumble Bee’s owner and holds itself out as such; thus, Lion Capital is
 8   Bumble Bee’s equitable owner. (DPP Opp’n 15 n.9.) Defendants aver that Lion Capital
 9   and Lion Americas are not the equitable owners of Bumble Bee because one of Lion
10   Capital’s funds owns Big Catch. (Reply 19.) For example, the DPP Complaint discloses
11   an organizational chart that shows that the one of the funds owns Bumble Bee. (Four Track
12   Reply 15 (citing “DPP Compl.” ¶ 43, ECF No. 911).) Defendants distinguish cases finding
13   equitable ownership because the Lion entities are not part of the “chain” of Bumble Bee’s
14   ownership. (Id. at 16 (citing Tatung Co. v. Shu Tze Hsu, 217 F. Supp. 3d 1138, 1177 (C.D.
15   Cal. 2016)).)
16         In Tatung Co., the district court discussed whether equitable ownership was
17   sufficient to impose alter ego liability. 217 F. Supp. 3d at 1178. There, several individuals
18   did not own shares of the defendant company, but were alleged to act as owners of the
19   defendant. Id. The court found that the fact that the individuals owned no shares in the
20   defendant was not dispositive and that sufficient facts existed to demonstrate the
21   individuals “acted as owner[s]” of the defendant by giving assets to the company and using
22   assets to support loans by taken out by the defendant company. Id. (alteration in original).
23   In Schwarzkopf, the Ninth Circuit cited with approval a California Court of Appeal case
24   where the court imposed alter ego liability on a managing agent of an interinsurance
25   exchange. 626 F.3d at 1039 (citing Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305,
26   1343 (Ct. App. 2009)). The Troyk court reasoned that “[a]lthough the [interinsurance
27   exchange] is legally owned by its subscribers (i.e., its insureds), its business activities are
28   effectively controlled by its managing agent and attorney-in-fact.” Id.; see also id. at 1343

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 1   n.27 (“[G]iven that the subscribers are required to appoint the attorney-in-fact as
 2   managerial agent, the ‘ownership’ element of the alter ego doctrine is not applicable in this
 3   context.” (quoting Tran v. Farmers Grp., Inc., 104 Cal. App. 4th 1202, 1219 n.7 (Ct. App.
 4   2002))).
 5         Here, Defendant Lion Capital is similar to the managing agent, its funds are similar
 6   to interinsurance exchange, and Lion’s investors are similar to the subscribers who actually
 7   own the fund. Lion Capital may not have owned the fund that ultimately owned Bumble
 8   Bee, but it exercised control over the fund and where the fund directed its investments.
 9   Further, Lion Americas executives seemed to think that the Lion entities owned Bumble
10   Bee. In November 2012, Mr. Capps of Lion Americas received an email asking to confirm
11   the Bumble Bee ownership structure including a statement to the effect “Lion’s share is
12   more than 70%.” (LION_4712.) Capps forwarded the email internally, asking “Chang,
13   [please] confirm that we all have ownership at the [Bumble Bee] Holdco level.” (Id.)
14   Chang responded, “Our ownership . . . is at a Cayman LP which sits above Bumble Bee
15   HoldCo.” (Id.) This suggests that Lion Americas believed that they, i.e., the Lion entities,
16   “owned” Bumble Bee in some respect. At oral argument, the Bashas Plaintiffs directed the
17   Court to Bumble Bee’s criminal plea agreement where the parties to that agreement defined
18   Bumble Bee’s “parent companies” to include Lion Capital LLP, Lion Americas, and Big
19   Catch. (See Ex. 55, ECF No. 1247-25, ¶ 13.) It does not appear that the plea agreement
20   defined “parent companies,” but presumably Lion Capital and Lion Americas would not
21   be parties to the plea agreement without some modicum of control over Bumble Bee. In
22   light of the foregoing facts, the Court follows Schwarzkopf and Tatung and finds that Lion
23   Capital’s equitable ownership over Big Catch and Bumble Bee is appropriate in this case.
24   The Court will proceed with the alter ego analysis.
25         2. Unity of Interest
26              a. Defendants’ Arguments
27         Defendants advance three broad arguments why Plaintiffs have not established unity
28   of interest between Bumble Bee and Lion Capital. First, Defendants take issue with

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 1   Plaintiffs’ allegation that Bumble Bee was purposefully undercapitalized by the Lion
 2   entities as evidenced by the fact that Bumble Bee maintained a high debt to total capital
 3   ratio. (MTD 26 (citing Bashas Compl. ¶ 304).) Defendants cite the proposition that
 4   “[d]ifficulty in enforcing a judgment or collecting a debt does not satisfy th[e] [alter ego]
 5   standard.” (Id. at 26–27 (quoting Sonora Diamond, 83 Cal. App. 4th at 539).) Further,
 6   Defendants distinguish this case from cases involving inadequate capitalization because
 7   the latter occur “where the organizers failed to invest any money at all or put up only token
 8   amounts; or where the principals reduce an operating corporation to a mere shell by
 9   stripping it of its assets.” (Id. at 27 (quoting Aliya Medcare Fin., LLC v. Nickell, No. CV
10   14-7806 VAP (Ex), 2016 WL 7448095, at *9 (C.D. Cal. June 24, 2016)).) Defendants
11   likewise argue that simply because Lion Capital financed the Bumble Bee acquisition as a
12   “debt push-down” this does not illustrate an uncommon or illegitimate way for a private
13   equity firm to direct an investment. (Id.)
14         Second, Defendants assert there is no alter ego liability through the four Lion
15   members who sat on Bumble Bee’s board of directors. (Id.) Defendants cite United States
16   v. Bestfoods, 524 U.S. at 69, for the proposition that “it is entirely appropriate for directors
17   of a parent corporation to serve as directors of its subsidiary, and that fact alone may not
18   serve to expose the parent corporation to liability for its subsidiary’s acts.” (Id. at 28.)
19   Defendants parry Plaintiffs’ allegations that Bumble Bee executives received shares in Big
20   Catch, (id. (citing Bashas’ Compl. ¶ 309)), by arguing that “a parent corporation may be
21   directly involved in financing and macro-management of its subsidiaries . . . without
22   exposing itself to a charge that each subsidiary is merely its alter ego,” (id. (citing Wady v.
23   Provident Life & Accident Ins. Co. of Am., 216 F. Supp. 2d 1060, 1068 (C.D. Cal. 2012))).
24         Third, Defendants consider various activities in the Bashas’ Complaint including:
25   employees at Lions Americas receiving regular, detailed reports about Bumble Bee’s
26   finances and operations; one of the Lion entities entering into a management agreement to
27   provide advisory services to Bumble Bee; and unspecified Lion executives being involved
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 1   in four Bumble Bee projects.22 (Id. (citing Bashas Compl. ¶¶ 312–14).) Defendants
 2   distinguish the foregoing facts because they do not demonstrate Lion’s direction of “every
 3   facet of the subsidiary’s business” required for alter ego liability. (Id. (quoting Ranza, 793
 4   F.3d at 1073).) Defendants argue that the alleged facts reflect a pattern of legitimate
 5   conduct whether it be Lion Capital’s investor status in Bumble Bee or Lion Americas’
 6   advisory relationship to Lion Capital. (Id. at 29 (citing Unocal, 248 F.3d at 926).)
 7              b. Plaintiffs’ Arguments
 8          Both the Bashas Plaintiffs and the Cherokee Nation submit three broad arguments
 9   that Lion entities dominated and controlled Bumble Bee. First, Lion executives received
10   daily, monthly, and other periodic reports regarding Bumble Bee’s operations and had
11   direct input into Bumble Bee’s business. (Nation Opp’n 38 (citing Nation FAC ¶¶ 47–50);
12   Bashas Opp’n 29 (citing Bashas Compl. ¶¶ 309–15).) Plaintiffs cite one district court
13   opinion that found daily, weekly, and monthly financial reports a relevant factor in the alter
14   ego test. (Nation Opp’n 38 (citing Parker v. DPCE, Inc., No. CIV. A 91-4829, 1992 WL
15   501273, at *6 (E.D. Pa. Nov. 3, 1992)); Bashas Opp’n 29 (same).)
16          Second, the Lion entities appointed three of the four Bumble Bee directors on
17   Bumble Bee’s board. (Nation Opp’n 39; Bashas Opp’n 30.) Messrs. Lea, Lindberg, and
18   Capps have all served on the board of directors. (Nation Opp’n 39; Bashas Opp’n 30.)
19   Plaintiffs acknowledge that dominion of the board of directors alone is not sufficient for
20   alter ego, but urges the Court to consider it as a relevant factor in the unity of interest
21   analysis. (Nation Opp’n 39 (citing ECF No. 295, at 14); Bashas Opp’n 30 (same).)
22          Third, Plaintiffs point to their allegations that Bumble Bee was undercapitalized by
23   the Lion entities. (Nation Opp’n 39 (citing NetApp, Inc. v. Nimble Storage, Inc., No. 13-
24   CV-5058-LHK HRL, 2015 WL 400251, *7 (N.D. Cal. Jan. 29, 2015)); Bashas Opp’n 28
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26
     22
        These projects are: (1) Lion executives “facilitated and helped oversee” a co-packing venture with
27   Chicken of the Sea; (2) executives advised Bumble Bee on public relations issues concerning fish
28   aggregating devices; (3) executives “communicated” on Bumble Bee’s behalf regarding sustainability
     issues; and (4) “assisted” with “rolling out” Bumble Bee’s frozen food products. (Bashas Compl. ¶ 314.)

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 1   (same); DPP Opp’n 17.) The factual allegations include: (1) Bumble Bee took on debt
 2   from the Lion acquisition that left Bumble Bee with a negative net worth, (Nation FAC
 3   ¶¶ 41–42); (2) the Internal Revenue Service labeled Bumble Bee a “thinly capitalized
 4   corporation,” (id. ¶ 43); and (3) Bumble Bee’s public debt was downgraded by Standard &
 5   Poor’s in 2016, despite Bumble Bee being profitable, (id. ¶ 42). (See Nation Opp’n 39;
 6   Bashas Opp’n 28.) Plaintiffs cite several cases where courts found alter ego liability when
 7   a subsidiary was undercapitalized and urges a similar result here. (Nation Opp’n 39 (citing,
 8   e.g., VIA Techs., Inc. v. ASUS Computer Int’l, No. 14-CV-3586-BLF, 2015 WL 3809382,
 9   at *5 (N.D. Cal. June 18, 2015)); Bashas Opp’n 28 n.18 (same).)
10             c. Defendants’ Reply
11         Defendants characterize many of the activities adduced by Plaintiffs as falling within
12   the routine types of oversight that the Ninth Circuit held did not support an alter ego finding
13   in Ranza and Unocal. (Reply 20.) Bumble Bee sending reports to Lion executives, Lion
14   getting involved at a “very granular [level of] knowledge,” appointment of board members,
15   and supervision of finances are all consistent with the legitimate actions of a private-equity
16   fund manager. (Id. at 20–21.)
17         Defendants also take issue with Plaintiffs’ undercapitalization theory. They cite a
18   Ninth Circuit definition for undercapitalization as requiring Plaintiffs to demonstrate “the
19   corporate owner” has caused “a corporation [to be] so undercapitalized that it is unable to
20   meet debts that may be reasonably be expected to arise in the normal course of business.”
21   (Id. at 24 (alteration in original) (quoting Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657,
22   677 (9th Cir. 2017)).) If a business has sufficient capital to “operate its normal business”
23   then it is not undercapitalized. (Id. (quoting In re Hydroxycut Mktg. & Sales Practices
24   Litig., 810 F. Supp. 2d 1100, 1123 (S.D. Cal. 2011)).) Defendants characterize all of
25   Plaintiffs’ allegations as concerning the amount and character of debt held by Bumble Bee
26   and not that Bumble Bee lacks sufficient capital to conduct its normal course of business.
27   (See id. at 24–25.)
28   ///

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 1             d. Court’s Analysis
 2         As before, the Court examines unity of interest to determine whether “the parent
 3   controls the subsidiary to such a degree as to render the latter the mere instrumentality of
 4   the former.” Unocal, 248 F.3d at 926. The parties draw different conclusions from
 5   generally three categories of facts.
 6         First, Plaintiffs argue that the Lion entities’ involvement went beyond oversight
 7   typical of a portfolio company. This is evident to Plaintiffs because Lion executives
 8   received daily, monthly, and other periodic reports regarding Bumble Bee’s operations and
 9   had direct input into Bumble Bee’s business. (Nation Opp’n 38.) Receiving information
10   and providing input on business decisions are exactly the sort of evidence that both the
11   Unocal and Ranza courts examined and held to be insufficient to demonstrate unity of
12   interest. In Unocal, the court was presented with evidence demonstrating the parent was
13   involved in “its subsidiaries’ acquisitions, divestments and capital expenditures” as well as
14   “formulation of general business policies and strategies applicable to its subsidiaries.” 248
15   F.3d at 927. In Ranza, the parent was “heavily involved” in its subsidiary’s operations,
16   including but not limited to control over the subsidiary’s overall budget, approval authority
17   of large purchases, and operating information tracking systems. 793 F.3d at 1074. In both
18   cases, such a level of active involvement was insufficient to overcome the observance of
19   corporate formalities.
20         Here, Plaintiffs have not demonstrated that a Lion entity was involved in, for
21   example, hiring and firing decisions, negotiating contracts, making routine purchase
22   decisions, and other routine day-to-day management operations for Bumble Bee. Cf. id.
23   Plaintiffs cite a single unreported district court opinion for the proposition that receiving
24   reports supports finding alter ego liability. See Parker, 1992 WL 501273, at *6. That case
25   has limited applicability; receiving reports was one factor among others the court
26   considered and the reasoning supporting the court’s conclusion was not extensive. This
27   Court focuses on the guiding principles from Unocal and Ranza—requiring evidence that
28   the parent dictated every facet of the subsidiary from broad policy to day-to-day decisions.

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 1   The oversight of Bumble Bee did not rise above the permissible level of oversight outlined
 2   in Unocal and Ranza.
 3          Second, Plaintiffs contend that a Lion entity dominated Bumble Bee’s board of
 4   directors. As all the parties recognize, several leading cases hold that shared directors, by
 5   itself, does not expose the parent corporation to liability for the subsidiary’s acts. See
 6   Bestfoods, 524 U.S. at 69 (citing Am. Protein Corp. v. AB Volvo, 844 F.2d 56, 57 (2d Cir.),
 7   cert denied, 488 U.S. 852 (1988)); Unocal, 248 F.3d at 926. For its part, California law
 8   views identical directors as one factor in the unity of interest analysis, Associated Vendors,
 9   210 Cal. App. 2d at 839 (collecting cases), but does not view shared directors as dispositive,
10   see Sonora Diamond, 83 Cal. App. 4th at 548–49 (“It is considered a normal attribute of
11   ownership that officers and directors of the parent serve as officers and directors of the
12   subsidiary.”). Here, Plaintiffs only demonstrate that Lion placed directors on Bumble
13   Bee’s board, but does not take the next step to explain how shared directors amounted to
14   unity of interest. Therefore, the Court takes note of the directors Lion placed on Bumble
15   Bee’s board, but such a recognition is not dispositive in the analysis. See Harris Rutsky &
16   Co. Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003) (holding
17   no unity of interest where two companies were “run by the same senior officers and
18   directors,” shared the same offices in London, and shared some of the same staff).
19          Third, the Court addresses undercapitalization.23 The Cherokee Nation alleges that
20
21
     23
        Both the Cherokee Nation and the Bashas Plaintiffs cite Slottow v. American Casualty Co. of Reading,
22   Pennsylvania, 10 F.3d 1355, 1360 (9th Cir. 1993), for the proposition that inadequate capitalization alone
     maybe be a sufficient basis for alter ego liability. In turn, Slottow only cites Nilsson, Robbins, Dalgarn,
23   Berliner, Carson & Wurst v. Louisiana Hydrolec, 854 F.2d 1538, 1544 (9th Cir. 1988), for the same
24   proposition and Nilsson ultimately cites Minton v. Cavaney, 56 Cal. 2d 576 (1961).
             Federal courts apply the law of the forum state to determine whether an entity is the alter ego of
25   an individual. Hickey, 322 F.3d at 1128. California courts have relied on a variety of factors to determine
     unity of interest; for example, Minton did not explicitly hold or state in dicta that inadequate capitalization
26   alone was sufficient. See 56 Cal. 2d at 579–80. In 1957, in Automotriz Del Golfo de California S.A. De
     C. V. v. Resnick, the California Supreme Court cited with approval the rule that “inadequate financing,
27   where such appears, is a factor, and an important factor, in determining whether to remove the insulation
28   to stockholders normally created by the corporate method of operation.” 47 Cal. 2d 792, 797 (1957)
     (internal quotation marks omitted) (quoting Carlesimo v. Schwebel, 87 Cal. App. 2d 482, 493 (Ct. App.

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 1   its debts as they mature.’” Laborers Clean–Up Contract Admin. Trust Fund v. Uriarte
 2   Clean–Up Service, Inc., 736 F.2d 516, 524 (9th Cir. 1984) (alteration in original) (quoting
 3   Lattin, Lattin on Corporations, § 15(a), at 77 (2d ed. 1971)). Thus, the relevant question
 4   is whether Bumble Bee’s capital was sufficient to “operate its normal business.” In re
 5   Hydroxycut Mktg. & Sales Practices Litig., 810 F. Supp. 2d at 1123. Bumble Bee’s roughly
 6   ninety percent debt to capital ratio does not demonstrate it had insufficient capital to
 7   operate its normal business and pay its debts as they matured.
 8         Moreover, the level of debt here does not rise to the same level of undercapitalization
 9   in the cases Plaintiffs cite. For example, in Slottow, the entity’s initial capitalization was
10   $500,000 and its liabilities were $10 million. 10 F.3d at 1360. Thus, the defendant in
11   Slottow could not pay its debts. In VIA Technologies, the entity had at most $500,000 in
12   capital compared to anywhere from $400 million to $2 billion in annual sales. 2015 WL
13   3809382, at *5. The inference there was that the parent entity was funneling all the profits
14   from its alter ego subsidiary. Here, Plaintiffs generally allege that Bumble Bee carried a
15   high debt to total capital ratio; they do not allege that Bumble Bee could not meet its
16   operating expenses.
17         The exception to this is an allegation Bumble Bee would have defaulted in 2011 but
18   for the price fixing conspiracy. The basis for Plaintiffs’ for the allegation is that the United
19   States Sentencing Guidelines presumes a ten percent surcharge in price fixing cases and if
20   one were to assume Bumble Bee’s profits were reduced by ten percent then Bumble Bee
21   would have defaulted. (See Bashas Compl. ¶ 305 & n.13.)
22                If a corporation is organized and carries on business without
                  substantial capital in such a way that the corporation is likely to
23
                  have no sufficient assets available to meet its debts, it is
24                inequitable that shareholders should set up such a flimsy
                  organization to escape personal liability . . . . If the capital is
25
                  illusory or trifling compared with the business to be done and the
26                risk of loss, this is a ground for denying the separate entity
                  privilege.
27
28   Automotriz Del Golfo De Cal., 47 Cal. 2d at 797 (quoting Henry Winthrop Ballantine,


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 1   (Second) of Agency § 14A, cmt. a (1958))). Thus, the intentional acts taken by Lion
 2   Capital’s partners also may be properly considered.
 3          Here, Plaintiffs detail a variety of intentional acts undertaken by Defendants
 4   including receiving information, monitoring Bumble Bee projects, corresponding with
 5   Bumble Bee executives, investors, and competitors, and exchanging confidential
 6   information. These includes actions taken by Lion Capital partners Lindberg, Capps, and
 7   Chang in the scope of their partnership.24 See also infra section V. The Four Track
 8   Plaintiffs jointly submitted evidence including Lion Capital’s partnership deed, (ECF No.
 9   1318, at 8), a list of persons who were members (including Capps and Chang), (id. at 24),
10   and an addenda adding Lindberg as a member, (id. at 113). The Court finds these facts
11   sufficient to demonstrate Lindberg, Capps, and Chang were partners and that their
12   intentional acts impute to Lion Capital. The Court further finds that there were sufficient
13   intentional acts to satisfy the first element of the Calder effects test with regard to Lion
14   Capital.
15          With regard to Big Catch, Plaintiffs do not adduce any intentional acts taken by Big
16   Catch itself. Instead, they argue that Big Catch acted through its limited partners, i.e.,
17   shareholders, who are themselves members of the conspiracy. 25 (See Bashas Opp’n 38.)
18
19   24
        Finding that the actions taken by partners of Lion Capital impute to the partnership for purposes of
20   specific jurisdiction does not run afoul of the Supreme Court’s holding in Daimler, which dealt with
     general jurisdiction over wholly owned subsidiaries. See 571 U.S. at 134–35; see also id. at 135 n.13
21   (“Agency relationships, we have recognized, may be relevant to the existence of specific jurisdiction.”).
     One Ninth Circuit panel has expressed its opinion that Daimler voided an agency approach for specific
22   jurisdiction. Williams, 851 F.3d at 1023–25. Williams dealt with the question of whether a subsidiary’s
     contacts impute to a parent corporation via an agency relationship; it did not deal with whether a partner’s
23   actions can impute to his or her own partnership, without reference to a parent-subsidiary relationship.
24   See Heber v. Toyota Motor Sales U.S.A., Inc., No. SACV1601525 AGJ CGX, 2018 WL 3104612, at *2
     (C.D. Cal. June 11, 2018) (“The Ninth Circuit has left open the question of whether an agency relationship
25   between a parent and a subsidiary might impute the subsidiary’s forum contacts to the parent.” (emphasis
     added)).
26   25
        At oral argument, the Bashas Plaintiffs argued that Big Catch borrowed $145 million against Bumble
     Bee’s assets to distribute to its shareholders. (See ECF No. 1321, at 41; Bashas Opp’n 15.) This fact is
27   not persuasive for two reasons. First, it appears that Lion Capital and Bumble Bee were the entities
28   responsible for intentionally acting. (See Bashas Opp’n 15.) Second, the Bashas Plaintiffs do not connect
     the borrowing of additional funds to the price-fixing conspiracy.

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 1   Plaintiffs go on to assert that the acts taken by Bumble Bee and its executives in furtherance
 2   of the conspiracy suffice to establish personal jurisdiction over Big Catch. (See id.) The
 3   Court has already discussed whether Bumble Bee’s acts impute to Big Catch, see supra
 4   section II.D, and Big Catch’s status as a holding company means that it does not undertake
 5   intentional acts; others act on its behalf. Therefore, the Court finds that Plaintiffs fail to
 6   establish the first element of the Calder effects test with regard to Big Catch, but will
 7   proceed with the Calder analysis as to Lion Capital.
 8         2. Express Aiming
 9         For the express aiming element, the Ninth Circuit has made clear that Calder
10   requires “something more” than a foreign act that has foreseeable effects in the forum state.
11   See, e.g., Bancroft, 223 F.3d at 1087; Schwarzenegger, 374 F.3d at 805.                “[T]he
12   requirement is satisfied when the defendant is alleged to have engaged in wrongful conduct
13   targeted at a plaintiff whom the defendant knows to be a resident of the forum state.”
14   Bancroft, 223 F.3d at 1087. “The ‘express aiming’ analysis depends, to a significant
15   degree, on the specific type of tort or other wrongful conduct at issue.” Schwarzenegger,
16   374 F.3d at 807.
17         “An antitrust defendant ‘expressly aims’ an intentional act at a forum state when its
18   allegedly anticompetitive behavior is targeted at a resident of the forum, or at the forum
19   itself.” In re Cathode Ray Tube (CRT) Antitrust Litig., 27 F. Supp. 3d 1002, 1011 (N.D.
20   Cal. 2014) (citing In re W. States Wholesale Natural Gas Antitrust Litig., 715 F.3d at 743).
21   These cases discuss the relevant facts to support finding express aiming by an antitrust
22   defendant. In CRT, the court described evidence demonstrating the defendants shared U.S.
23   marketing information with co-conspirators, coordinated pricing decisions in relation to
24   the United States, and discussed prices in U.S. dollars. See id.
25         Next, in Western States, the plaintiffs alleged that the defendant’s
26                officers or directors made agreements “which tended to advance
                  or control the market prices of natural gas that its affiliates sold
27
                  in the United States or in Wisconsin” and that these officers or
28                directors made “strategic marketing policies and decisions” to

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 1                report prices to natural gas price indices “that affected the market
                  prices of natural gas.”
 2
 3   715 F.3d at 744. The policies and decisions were then implemented by affiliates. Id. The
 4   plaintiffs went on to allege that the conspiracy was “ordered and performed by [the
 5   defendants’] officers, directors, agents, employees or representatives while actively
 6   engaged in the management, direction, control or transaction of defendants’ business or
 7   affairs.” Id. The Ninth Circuit found “these alleged facts, taken as true, establish that
 8   the . . . [d]efendants’ price manipulation was ‘expressly aimed’ at Wisconsin, because
 9   the . . . [d]efendants knew and intended that the consequences of their price manipulation
10   would be felt in Wisconsin.” Id. (citing Ibrahim v. Dep’t of Homeland Sec., 538 F.3d 1250,
11   1258 (9th Cir. 2008)).
12            a. Defendants’ Arguments
13         Defendants contend that none of the intentional acts demonstrated that Lion Capital
14   or its employees acted directly to affect the pricing, marketing, or sale of packaged tuna.
15   (MTD 19.) Defendants cite authority for the proposition that Plaintiffs cannot impute
16   personal jurisdiction from Bumble Bee to Lion Capital because the Ninth Circuit has not
17   adopted, and several district courts have rejected, a conspiracy theory of personal
18   jurisdiction. (Id. at 20 (citing Hilsenrath v. Equity Trust (Jersey) Ltd., No. C 07-3312 CW,
19   2008 WL 728902, at *4 n.5 (N.D. Cal. Mar. 17, 2008), aff’d, 402 Fed. App’x 300 (9th Cir.
20   2010); and UMG Recordings, Inc. v. Global Eagle Entm’t, Inc., No. CV 14-3466 MMM
21   (JPRx), 2015 WL 12752879, at *8–9 (C.D. Cal. July 2, 2015)).)
22         Defendants also contend that Mr. Lindberg’s meetings with competitors do not
23   support the inference of wrongful conduct nor personal jurisdiction over Lion Capital. (Id.)
24   Defendants state that there are no allegation that the meetings were aimed at the United
25   States or resulted in harm to persons in the United States. (Id.)
26            b. Plaintiffs’ Arguments
27         Plaintiffs argue that Lion Capital undertook two broad categories of actions: first,
28   managing and oversight of Bumble Bee; second, meeting and communicating in

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 1   Lischewski told Dongwon’s CEO that ninety percent of Bumble Bee’s sales came from the
 2   United States. (Bashas Opp’n 35 (citing Ex. 62; Ex 63, at 875–76).)
 3                c. Court’s Analysis
 4          Here, the uncontroverted factual allegations and the record supports Plaintiffs’
 5   contention that Lion Capital expressly aimed anticompetitive behavior at the relevant
 6   forum, the United States. Before Lion Capital acquired Bumble Bee, Lion Capital
 7   executives and partners communicated internally about the packaged seafood market,
 8   including the U.S., in the context of purchasing Bumble Bee. (LION_6953.) Lion Capital
 9   executives apparently met with market competitors, before acquisition, in London.
10   (LION_7074.) Importantly, Lion Capital’s designated member, Mr. Lyndon Lea, and
11   limited members Lindberg, Capps, and Chang, were members of Bumble Bee’s board of
12   directors.     It is unclear whether Mr. Lea actually attended any board meetings in
13   California;26 however, at the very least he received the presentations before the board
14   meetings, (see, e.g., LION_4569; LION_7406), and email summaries after the meetings,
15   (see, e.g., LION_3926; LION_12614). This information included alleged anticompetitive
16   behavior. In March 2012, Mr. Chang, both a Lion Americas employee and Lion Capital
17   limited member, reported to Mr. Lea that “[a]fter April 1, all three brands will be closely
18   aligned on tuna list pricing” and offered to call to discuss further. (Nation FAC ¶ 51;
19   LION_3926.)
20          Mr. Lea continued to communicate with Lion Americas executives concerning
21   Bumble Bee. (LION_1575 (merger and acquisition information); LION_2529 (receiving
22   information on Lindberg’s meetings in Bangkok); LION_4714, at 22 (discussing meeting
23
24   26
        Plaintiffs contend Mr. Lea attended board meetings in California. (See Nation Opp’n 22 (citing
25   LION_4334).) The evidence supporting this inference is that his name appears on slide deck as an attendee
     at board meetings. Yet, emails sent after the meetings suggest Mr. Lea was not present, but received
26   information. (See LION_3926; LION_12618.) The Supreme Court has stated that physical presence in
     the forum is not dispositive as long as “a commercial actor’s effects are ‘purposefully directed’ toward
27   residents of another state.” Burger King, 471 U.S. at 476 (“[I]t is an inescapable fact of modern
28   commercial life that a substantial amount of business is transacted solely by mail and wire
     communications across state lines . . . .”).

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 1   United States. Accordingly, the Court finds Lion Capital meets the second prong of the
 2   Calder effects test.
 3         3. Foreseeable Harm
 4         As the Supreme Court made clear in Walden v. Fiore, something more is required
 5   than “imposition of an injury . . . to be suffered by the plaintiff while she is residing in the
 6   forum state.” 571 U.S. at 289 n.8. Walden suggests the injury should be “tethered” to the
 7   forum state in a “meaningful way” in order to create a jurisdictionally relevant contact. Id.
 8   at 290. For example, in Walden, the defendant, a deputized agent of the Drug Enforcement
 9   Administration (“DEA”), allegedly unlawfully seized the plaintiffs’ cash at an Atlanta
10   airport. Id. at 280. The plaintiffs, Nevada residents, attempted to hale the deputized DEA
11   agent into federal court in Nevada for injuries related to the seized funds. Id. at 281. The
12   Supreme Court held there was no personal jurisdiction and reasoned, the injury would
13   follow the plaintiffs around no matter the state they chose to reside in, and thus the injury
14   was not meaningfully tethered to Nevada. See id. at 289–90.
15         The Ninth Circuit has stated “[o]ur case law does not require that the ‘brunt’ of the
16   harm be suffered in the forum state; as long as ‘a jurisdictionally sufficient amount of harm
17   is suffered in the forum state, it does not matter that even more harm might have been
18   suffered in another state.” W. States, 715 F.3d at 744 (quoting Yahoo! Inc. v. La Ligue
19   Contre Le Racisme Et L’Antisemitisme, 433 F.3d 1199, 1207 (9th Cir. 2006) (en banc) (per
20   curiam)). Here, it is foreseeable that Bumble Bee’s anticompetitive behavior, overseen by
21   Lion Capital, would cause harm suffered in the United States. Bumble Bee is a U.S.
22   company and its sales are largely in the U.S. market. (Nation FAC ¶ 34; Bashas Compl.
23   ¶ 19.) The harm falls on American consumers and the facts here clearly meet the
24   foreseeability requirements articulated in Calder, Walden, and Western States. The Court
25   finds Lion Capital meets the foreseeable harm requirement.
26      C. Arises Out of Forum Related Activities
27         A court determines whether a claim arises out of defendant’s forum-related activities
28   in terms of “but for” causation. Unocal, 248 F.3d at 924 (citing Ballard, 65 F.3d at 1500).

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 1   The but for test requires “some nexus between the cause of action and the defendant’s
 2   activities in the forum.” Shute v. Carnival Cruise Lines, 897 F.2d 377, 387 (9th Cir. 1988),
 3   overruled on other grounds, 499 U.S. 585 (1991). In the context of a federal antitrust case
 4   the but for test can be met by establishing the plaintiffs paid artificially high prices for the
 5   relevant products as a result of the defendant’s activities. CRT, 27 F. Supp. 3d at 1013.
 6          Defendants argue that Plaintiffs do not allege any activity without which Plaintiffs’
 7   claim would not have arisen. (MTD 21.) Instead, the conspiracy existed before any Lion
 8   entity purchased Bumble Bee and Plaintiffs’ allegations only speak to receiving
 9   information about the conspiracy, receiving profits from the conspiracy, and Lion’s
10   purported guilt by association. (Id.) Defendants conclude by arguing that Plaintiffs fail to
11   allege a harm of which a Lion entity was a but for cause. (Id.)
12          The Bashas Plaintiffs characterize the nexus between their claims and Lion as
13   deriving from the latter’s “efforts to sustain the conspiracy.” (Bashas Opp’n 39.) Plaintiffs
14   also contend that Defendants misstate the arising out of test. They argue the test is satisfied
15   because but for Lion taking action to further the conspiracy to raise tuna prices in the U.S.,
16   plaintiffs would not have any claim against Lion. (Id. at 39 n.35 (citing Tatung Co. v. Shu
17   Tze Hsu, 43 F. Supp. 3d 1036, 1049–50 (C.D. Cal. 2014)).) The Cherokee Nation also
18   argues that Defendants’ contacts are part of the ongoing conspiracy and thus sufficient for
19   the arising out of prong. (Nation Opp’n 25.)
20          Plaintiffs allege that they paid artificially high prices because of a conspiracy in the
21   packaged seafood industry. (Bashas Compl. ¶ 324; Nation FAC ¶ 250.) The only question
22   in dispute is whether those artificially high prices were the result of Defendants’ forum-
23   related activities. Plaintiffs put forward evidence supporting affirmative actions taken by
24   Defendants Lion Americas and Lion Capital to further the conspiracy in their oversight of
25   Bumble Bee, a California and U.S.-based company. See supra section II.E.2; infra section
26   V. Accordingly, the Court finds Plaintiffs’ claim arise out of Defendants’ forum related
27   activities.
28   ///

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 1         D. Fair Play and Substantial Justice
 2         For a court to exercise personal jurisdiction, whether general or specific, over a
 3   defendant, such assertion of jurisdiction must be “reasonable.” Amoco Egypt Oil Co. v.
 4   Leonis Navigation Co., 1 F.3d 848, 851 (9th Cir. 1993). The defendant has the burden of
 5   making a “compelling case” that the exercise of jurisdiction is not reasonable. Martensen
 6   v. Koch, 942 F. Supp. 2d 983, 993 (N.D. Cal. 2013). In assessing reasonableness, a court
 7   must weigh seven factors: (1) the extent of the defendant’s purposeful interjection in the
 8   forum; (2) the burden on the defendant; (3) the extent of any conflict with the sovereignty
 9   of the defendant’s domicile; (4) the forum state’s interest in adjudicating the dispute; (5)
10   the efficient resolution of the dispute; (6) the convenience and effectiveness of the
11   plaintiff’s relief; and (7) the existence of an alternative forum. Sinatra v. Nat’l Enquirer,
12   Inc., 854 F.2d 1191, 1198–99 (9th Cir. 1988) (citations omitted).
13         Defendants contend the exercise of jurisdiction over them is unreasonable because
14   it would plunge Lion Capital into a large American antitrust litigation to which the Lion
15   entities have only a tenuous connection. (MTD 22.) Further, involvement in the case
16   would place a severe burden on Lion Capital because its employees would be forced to
17   travel from the United Kingdom to Southern California to participate in the litigation. (Id.
18   (citing Asahi, 480 U.S. at 114–16).)
19         Plaintiffs counter that Defendants have inserted themselves into California’s affairs
20   by owning a San Diego-based company. (Bashas Opp’n 40.) They further contend that
21   the majority of relevant witnesses and documents reside in California and there “is little to
22   no burden on either Lion entity to defend itself in California. (Id.) Plaintiffs also point out
23   that Defendants do not argue that the remaining reasonableness factors militate against
24   personal jurisdiction.    (Id. at 41.)   Plaintiffs conclude that personal jurisdiction is
25   reasonable based on California’s interest in enforcing antitrust laws, the interest of
26   Plaintiffs in adjudicating the dispute where they were harmed, the importance of Bumble
27   Bee to the local economy, and that any alternative forum would not provide effective relief
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 1   for Plaintiffs. (See id.; see also Nation Opp’n 26–27 (advancing same arguments as Bashas
 2   Plaintiffs).)
 3          Defendants have more than a tenuous connection with this case. Lion Capital
 4   manages the investment funds that purchased and continues to own Bumble Bee. Lion
 5   Americas oversees Bumble Bee. Both entities had employees on Bumble Bee’s board of
 6   directors. By undertaking these actions, Defendants have interjected themselves into the
 7   forum. The Court is mindful of the burden that would be imposed on Lion Capital to appear
 8   in California. Plaintiffs’ assurances that the majority of relevant witnesses and documents
 9   reside with Bumble Bee would, at most, support finding personal jurisdiction over Bumble
10   Bee and Lion Americas. Lion Capital’s witnesses are in London, which militates against
11   reasonableness. See Asahi, 480 U.S. at 114. However, it is notable that Defendants do not
12   address much less carry their burden on the remaining six factors.
13          Unlike Asahi, where the Supreme Court determined California had only a slight
14   interest in adjudicating an indemnification claim, see id., the forum here has a greater
15   interest in an antitrust claim affecting American consumers. Further, the MDL has
16   progressed before this Court for several years, which supports Plaintiffs’ interests in
17   convenient and effective relief—judicial economy would not be served if Plaintiffs
18   litigated against Lion Capital in the United Kingdom. Finally, Defendants do not put
19   forward arguments concerning any conflict with the United Kingdom or the existence of
20   an alternative forum, though the Court assumes that the U.K. likely could provide effective
21   relief. In sum, the Court finds that finding personal jurisdiction over Lion Capital would
22   comport with fair play and substantial justice. The Court finds that it has personal
23   jurisdiction over Lion Capital.    Accordingly, the Court DENIES Defendants’ Rule
24   12(b)(2) Motions to Dismiss as to Lion Capital, LLP.
25   III.   Imputing Personal Jurisdiction to Big Catch
26          Having determined that Lion Americas and Lion Capital are properly within the
27   Court’s personal jurisdiction, the remaining personal jurisdiction issue is Big Catch. In
28   addressing this issue, Plaintiffs maintain Big Catch is subject to personal jurisdiction

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 1   because Big Catch is the alter ego of Bumble Bee. (Bashas Opp’n 33; DPP Opp’n 20.)
 2   The DPP Plaintiffs also submit that Big Catch is the alter ego of Lion Capital27 (DPP
 3   Opp’n 20.) And, the Cherokee Nation advances a theory where “Big Catch can only act
 4   through its shareholders” and therefore should be subject to general personal jurisdiction.
 5   (Nation Opp’n 30–31.)
 6        A. Whether Bumble Bee or Lion Capital’s Contacts Impute to Big Catch
 7          This Court has general personal jurisdiction over Bumble Bee because its principal
 8   place of business is in the United States, specifically San Diego, California, and is
 9   incorporated in Delaware. (Nation FAC ¶ 34; Bashas Compl. ¶ 19.) Additionally, the
10   Court has determined that it has specific personal jurisdiction over Lion Capital. Plaintiffs
11   advance several arguments why those respective contacts should impute to Big Catch.
12          1. Plaintiffs’ Argument
13          The Cherokee Nation contends that Big Catch has systematic and continuous
14   contacts with California based on its ownership of Bumble Bee. (Nation Opp’n 30.) It
15   further argues that Big Catch can only act through its shareholders or its subsidiaries. (Id.
16   (citing Wells Fargo, 556 F.2d at 419).) Fifty-four of Big Catch’s sixty-seven owners are
17   U.S. citizens. Ten of those owners are Bumble Bee executives. And, one hundred percent
18   of Big Catch’s revenue comes from Bumble Bee. (Id. (citing LION_14788, at 848–915,
19   937–42).)
20          The Bashas Plaintiffs assert that Big Catch is a shell company and because shell
21   companies are disregarded for purposes of personal jurisdiction28 then the acts taken by
22   Bumble Bee and its executives in furtherance of the conspiracy imputes to Big Catch.
23
24   27
        The DPP Plaintiffs’ alter ego arguments are located in the section of their brief pertaining to Rule
25   12(b)(6), (see DPP Opp’n 20–22), but later in their Opposition brief they contend the alter ego analysis is
     a basis for general jurisdiction, (see id. at 30–31). Therefore the Court addresses the alter ego argument
26   here.
     28
        Plaintiffs’ moving papers are not particularly clear as to what theory supports their argument. At oral
27   argument, the Bashas Plaintiffs clarified that that their theory rested on Howard and Transamerica, both
28   of which relied on an alter ego theory. See infra section III.A.3. Therefore, the Court considers Plaintiffs’
     arguments as attempting to make out an alter ego theory.

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 1   (Bashas Opp’n 38.) They also argue Big Catch is an alter ego of Bumble Bee and Lion
 2   Capital. (Id. at 33.) Plaintiffs assert that a “complex corporate structure” used to establish
 3   Big Catch and purchase Bumble Bee translates into Lion Capital dominating Big Catch.
 4   (Id.)
 5           The DPP Plaintiffs maintain that both Big Catch and Lion Capital are the alter egos
 6   of Bumble Bee. The DPP Plaintiffs advance three general arguments to demonstrate unity
 7   of interest between Bumble Bee and Big Catch. First, Big Catch was established by Lion
 8   Capital for the purpose of purchasing Bumble Bee and has no presence outside of Lion and
 9   Bumble Bee. (Id. at 20 (citing Third Am. Consolidated Compl. (“TACC”), ECF No. 911,
10   ¶ 45).) To that end, Big Catch does not have any employees of its own and does not engage
11   in any business operations separate from Lion Capital and Bumble Bee. (Id. (citing TACC
12   ¶ 37).) Second, Plaintiffs maintain that Bumble Bee and Lion executives make decisions
13   for Big Catch and the only business Big Catch conducts is during Bumble Bee board
14   meetings. (See id.) As a subset of the decisions made by Bumble Bee and Lion Capital,
15   executives from those entities awarded shares in Big Catch as part of a “management
16   incentive plan,” which created an equity interest in Big Catch for Bumble Bee employees.
17   (Id. at 20–21.) Plaintiffs allege that the equity interests were a conduit to transfer Bumble
18   Bee profits to those persons holding Big Catch stock. (Id. at 21.) Third, the DPP Plaintiffs
19   state that Big Catch is liable to pay a portion of Bumble Bee’s criminal fine and argue
20   Bumble Bee could not obligate Big Catch to guarantee the criminal fine unless Bumble
21   Bee had control over Big Catch. (See id.) Plaintiffs conclude that it would be inequitable
22   to allow Big Catch to escape potential judgment while at the same time receiving allegedly
23   illicit profits from the price fixing conspiracy. (See id.)
24           2. Defendants’ Reply
25           Defendants do not address Plaintiffs’ alter ego argument until their Reply brief to
26   the Four Track Plaintiffs. (See Four Track Reply 20–21; see also MTD 24–30; Four Track
27   MTD 18–19; Reply 19–25.) Defendants refute the unity of interest argument by citing the
28   proposition that a holding company is not presumed to be an alter ego of its subsidiary

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 1   because it does not conduct independent business. (Four Track Reply 20 (citing Corcoran,
 2   169 F. Supp. 3d at 984; and China Basin Props., Ltd. v. One Pass, Inc., 812 F. Supp. 1038,
 3   1041 (N.D. Cal. 1993)).) Defendants assert that Plaintiffs’ allegations have not overcome
 4   that presumption. Thus, the citizenship of Big Catch’s limited partners, i.e., shareholders,
 5   is irrelevant to personal jurisdiction. (Id. at 20–21 (citing Duncanson v. Wine & Canvas
 6   IP Holdings LLC, No. 16-cv-788-SEB-DML, 2017 WL 6994541, at *4 n.3 (S.D. Ind. Apr.
 7   20, 2017)).) Additionally, Defendants characterize the ability of Bumble Bee’s board of
 8   directors to approve shares in Big Catch as a “commonplace system of compensation.” (Id.
 9   at 21 (citing Ames v. Whitman’s Chocolates, Div. of Pet Inc., No. 91-3271, 1991 WL
10   281798, at *5 (E.D. Pa. Dec. 30, 1991)).)
11         3. Court’s Analysis
12         Big Catch is a holding company that ultimately owns Bumble Bee through various
13   corporate subsidaries. (Brown Decl. ¶¶ 20, 23.) Bumble Bee and Big Catch are separate
14   legal entities. Therefore, Plaintiffs must demonstrate that Bumble Bee’s contacts impute
15   to Big Catch. The law is clear that the general personal jurisdiction of a subsidiary entity
16   cannot be imputed to a parent entity under an agency theory. Daimler, 571 U.S. at 135–
17   36; Ranza, 793 F.3d at 1071. The only way to impute Bumble Bee’s general personal
18   jurisdiction to Big Catch is if Bumble Bee is an alter ego of Big Catch. The cases cited by
19   the Bashas Plaintiffs at oral argument and in their brief, for example, stand for the same
20   proposition: courts will disregard a holding company’s status for jurisdiction only when an
21   alter ego relationship exists. (See Bashas Opp’n 33 n.25 (citing, e.g., Howard v. Everex
22   Sys., Inc., 228 F.3d 1057, 1069 n.17 (9th Cir. 2000); and Transamerica Corp. v. Compana,
23   LLC, No. C 05-549 MJJ, 2005 WL 2035594, at *3 (N.D. Cal. Aug. 22, 2005)).)
24         Similarly, for purposes of imputing specific jurisdiction, plaintiffs must demonstrate
25   an alter ego relationship between Bumble Bee and Big Catch. See Williams, 851 F.3d at
26   1024 (“[T]he Daimler Court’s criticism of the Unocal standard found fault with the
27   standard’s own internal logic, and therefore applies with equal force regardless of whether
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 1   the standard is used to establish general or specific jurisdiction.”).29 Thus, to establish
 2   either general or specific personal jurisdiction over Big Catch, Plaintiffs must meet the alter
 3   ego test.
 4          Turning to the familiar alter ego test, the Court agrees with Defendants that the
 5   citizenship of Big Catch’s shareholders does not demonstrate unity of interest. Generally,
 6   the presence or citizenship of a limited partner, without more, is insufficient to confer
 7   personal jurisdiction over the limited partnership.                   See Goforit Entm’t LLC v.
 8   Digimedia.com L.P., 513 F. Supp. 2d 1325, 1331 (M.D. Fla. 2007) (collecting cases). The
 9   Goforit court went on to state, “[t]he argument with respect to a limited partner is even
10   weaker than as to a general partner, especially where, as here, there is record evidence
11   regarding the lack of power of the limited partners in the partnership.” Id. at 1332–33
12   (citations omitted). The Court agrees with this approach and examines Big Catch’s
13   partnership agreement vis-à-vis its limited partners. According to Big Catch’s organizing
14   document, it has several classes of partners; general partners have voting interests in the
15   partnership. Limited partners (who appear to be shareholders) have non-voting interests
16   and are further divided into Classes A, B, and C. (See Ex. 42, at 795.) Furthermore, the
17   general partner has the “exclusive right to manage and control the business and affairs of
18
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     29
20     The Williams court did, however, apply the agency test for specific jurisdiction, in the alternative. See
     851 F.3d at 1024–25. Even if this Court were to follow a similar path and apply an agency test, Unocal
21   distinguished the relationship between a parent and subsidiary, on the one hand, and between a holding
     company and its subsidiary on the other. The court quoted a district court opinion for the proposition:
22                  Where a holding company is nothing more than an investment mechanism
                    [, i.e.,] a device for diversifying risk through corporate acquisitions[,] the
23                  subsidiaries conduct business not as its agents but as its investments. The
24                  business of the parent is the business of investment, and that business is
                    carried out entirely at the parent level.
25
     Unocal, 248 F.3d at 929 (alterations in original) (quoting Bellomo v. Pa. Life Co., 488 F. Supp. 744
26   (S.D.N.Y. 1980)). The district courts in this circuit that have considered similar situations have applied
     Unocal’s reasoning to find that a parent holding company cannot be a subsidiary’s agent. See Delacruz
27   v. Serv. Corp. Int’l, No. 18-CV-154-LJO-EPG, 2018 WL 2287962, at *7 n.3 (E.D. Cal. May 18, 2018)
28   (collecting cases). Thus, Plaintiffs must demonstrate an alter ego relationship between Big Catch and
     Bumble Bee and/or Lion Capital.

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 1   the Partnership.” (Id. at 804.) Conversely, “[n]o Limited Partner shall participate in the
 2   control of the Partnership’s business, transact any business in the Partnership’s name, or
 3   have the power to sign documents for or otherwise bind the Partnership” unless provided
 4   in the partnership agreement. (Id. at 807.) The general partner is Lion/Big Catch Cayman
 5   Ltd. (Id. at 843.) Lion/Big Catch Cayman Ltd. is controlled by Lion/Latimer GP II
 6   (Guernsey) Ltd. and Lion Capital General Partner LLP is a related person to Lion/Latimer
 7   GP II (Guernsey) Ltd. (Ex. 54, at 12.) The fifty-four limited partners residing the United
 8   States do not have any right to control or transact in the business of Big Catch, nor is it
 9   apparent that they actually have done so.
10         The Court also agrees that establishing a compensation structure that awards shares
11   of a company, without more, is a normal business practice. Likewise, the Court is
12   unconvinced by the Bashas Plaintiffs’ argument that a complex corporate structure
13   somehow demonstrates unity of interest. Again, establishing investment funds and using
14   shell companies to purchase other entities, without more, is a normal business practice.
15   But, Lion Capital’s use of Big Catch after its creation raises questions about its independent
16   corporate status.
17         “Generally, alter ego liability is reserved for the parent-subsidiary relationship.
18   However, under the single-enterprise rule, liability can be found between sister
19   companies.” Las Palmas Assocs. v. Las Palmas Ctr. Assocs., 235 Cal. App. 3d 1220, 1249
20   (Ct. App. 1991). “A court may also disregard the corporate form in order to hold one
21   corporation liable for the debts of another affiliated corporation when the latter ‘is so
22   organized and controlled, and its affairs are so conducted, as to make it merely an
23   instrumentality, agency, conduit, or adjunct of another corporation.’” Toho-Tawa Co. v.
24   Morgan Creek Prods., Inc., 217 Cal. App. 4th 1096, 1107 (Ct. App. 2013) (internal
25   quotation marks omitted) (quoting Las Palmas, 235 Cal. App. 3d at 1249). “Thus, where
26   there is ‘such domination of finances, policies and practices that the controlled corporation
27   has, so to speak, no separate mind, will or existence of its own and is but a business conduit
28   for its principal,’ the affiliated corporations may be deemed to be a single business

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 1   enterprise, and the corporate veil pierced.” Id. (quoting 1 Fletcher, Cyclopedia of the Law
 2   of Corps., § 43).
 3         Applying that formulation of unity of interest here, Big Catch was organized by Lion
 4   Capital for the purpose of purchasing and holding Bumble Bee’s shares. (See, e.g., Ex. 44,
 5   ECF No. 1246-33, at 5 (Bumble Bee corporate representative deposition).) As Mr. Brown
 6   has declared, Big Catch does not hold its own board meetings, has no offices, and no
 7   employees. (Brown Decl. ¶¶ 21–22.) Big Catch is owned by Big Catch Cayman Ltd.,
 8   which is ultimately owned by one of Lion Capital’s funds and controlled by Lion Capital
 9   (See Ex. 54, at 4.) None of its shareholders have any right to control Big Catch. Thus,
10   Lion Capital executives made any and all decisions for Big Catch.
11         Monje v. Spin Master Inc., No. CV-09-1713-PHX-GMS, 2013 WL 2390625 (D.
12   Ariz. May 30, 2013), presents a useful comparison. There, the plaintiff sought to impute
13   the Arizona contacts of a subsidiary to its Luxemburg holding company using an alter ego
14   theory. Id. at *5. The evidence before the court demonstrated that the holding company
15   “manage[s] its investments and the financing of the activities of its subsidiaries, provide[s]
16   support, facilitate[s] communication and develop[s] resources that are available Group-
17   wide.” Id. (alterations in original) (citations omitted). The court determined that the
18   evidence showed the holding company was “a typical parent company. It provide[d]
19   general policies to its subsidiary, keeps track of its financial performance, and tried to
20   implement a certain product culture.” Id. at *6. This case is illustrative of a holding
21   company that maintains corporate formalities and performs some functions as a holding
22   company.
23         The facts here are similar to the facts in Kayne v. Ho, No. LA CV09-6816 JAK
24   (CWx), 2012 WL 12878753 (C.D. Cal. Sept. 6, 2012). There, the plaintiffs sought to apply
25   alter ego to three holding companies that had no employees and no office buildings. See
26   id. at *6–7. The companies had directors and shareholders that met in Hong Kong, but
27   generally their only business was “investment holding.” Id. at *6. The court found these
28   allegations of unity of interest sufficient at the motion to dismiss stage. See id. at *8

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 1   that if the DOJ expressed an interest in preventing a windfall to investors, then this Court
 2   should find an inequitable result. (See DPP Opp’n 21.)
 3         Defendants maintain that Plaintiffs do not allege facts to support the conclusory
 4   allegations. (MTD 29.) Thus, according to Defendants, Plaintiffs do not allege that Lion
 5   Capital ever collected the annual payment and admit that the payment was waived for some
 6   periods. (Id. (citing Bashas Compl. ¶ 297 n.12).) Defendants respond to the criminal guilty
 7   plea argument by stating that Bumble Bee’s sale is hypothetical and Big Catch is not a
 8   defendant in any criminal proceedings. (Reply 22.)
 9         The Court begins by noting that establishing a tax efficient structure to acquire a
10   company is a routine business practice and does not establish inequity. Furthermore,
11   Plaintiffs have not connected the annual EBITDA monitoring fees to Big Catch; instead, it
12   appears that Lion Capital received the fees from Bumble Bee and there are no allegations
13   connecting the fees to Big Catch.          More persuasive, however, are the allegations
14   concerning Bumble Bee’s criminal fine. Plaintiffs allege the Sentencing Guidelines range
15   was between $136.2 million and $272.4 million. (TACC ¶ 40.) Because Bumble Bee was
16   unable to pay the full Guidelines penalty, the parties agreed that Bumble Bee would pay a
17   $25 million fine and Big Catch guaranteed a fine of up to $81.5 million if Bumble Bee is
18   sold, subject to undisclosed terms and conditions. (Id.; see also Stein Decl., Ex. 10, at 14–
19   17.) While Defendants are correct that such a sale has not occurred to date, the motivating
20   concern behind the fine guarantee was “to prevent an unjust outcome whereby Bumble Bee
21   receives a reduction in its criminal fine due to its inability to pay and then shortly thereafter
22   is sold, thereby eliminating the inability to pay.” (Stein Decl., Ex. 10, at 18.) The DOJ
23   Sentencing Memorandum went on to elaborate, “[b]y having Big Catch pay any additional
24   fine, the government is essentially making a claim to a portion of the proceeds of a
25   qualifying sale of Bumble Bee and ensuring that such a payment would be made before
26   any distribution of the proceeds of the sale to investors.” (Id.)
27         The government’s claim to the proceeds of the sale ultimately depends on Bumble
28   Bee’s admission to participation in a criminal price fixing conspiracy. The investors, who

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 1   would ostensibly reap the windfall of a sale, are Lion Capital’s fund investors. Thus, there
 2   is a direct connection between preventing Lion Capital’s investors from profiting from the
 3   price fixing conspiracy. And, Big Catch is the vehicle by which the government is
 4   preventing an injustice from occurring. This is sufficient for alleging an unjust result
 5   because as this Court has previously held, “at this early stage of litigation Plaintiffs need
 6   not prove that [Big Catch] was in fact [Lion Capital’s] alter ego; instead, Plaintiffs here
 7   only need to plausibly allege that an inequitable result will follow if the corporate form is
 8   not discarded. (ECF No. 492, at 29.) The Court finds that Big Catch is the alter ego of
 9   Lion Capital and because Lion Capital is subject to Court’s specific jurisdiction then the
10   Lion Capital’s contacts impute to Big Catch.
11      B. Fair Play and Substantial Justice
12         The Court’s finding that Lion Capital’s contacts impute to Big Catch must still
13   comport with fair play and substantial justice, i.e., that it would be reasonable to assert
14   jurisdiction. Big Catch has no independent status outside of Lion Capital; it has no offices
15   and no employees. If it is reasonable to subject Lion Capital to personal jurisdiction, then
16   it would also be reasonable to subject Big Catch to the same jurisdiction under the same
17   analysis. See supra section II.D.
18         In sum, the Court finds that Big Catch is subject to the Court’s personal jurisdiction
19   through Lion Capital’s specific jurisdiction contacts. Therefore, the Court does not reach
20   various arguments advanced by Plaintiffs, including Big Catch consented to personal
21   jurisdiction and Big Catch purposefully availed itself of the forum. The Court DENIES
22   Defendants’ Rule 12(b)(2) Motions to Dismiss with respect to Big Catch Cayman LP.
23   IV.   Indirect Purchaser State Law Claims
24         The Lion Defendants move separately to dismiss the majority of the state law claims
25   brought by the indirect purchaser tracks—the EPPs and CFPs (or “Indirect Plaintiffs”)—
26   for lack of personal jurisdiction over certain state law claims. The Court addresses the
27   Indirect Plaintiffs’ state law claims separately because the issues are unique to the indirect
28   purchasers.

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 1      A. Defendants’ Arguments
 2         Defendants argue that the Supreme Court’s decision in Bristol-Myers Squibb v.
 3   Superior Court, 137 S. Ct. 1773, applies to the Indirect Plaintiff’s state law claims and
 4   forecloses personal jurisdiction on those particular claims.         (EPP/CFP MTD 21.)
 5   Defendants contend that “[t]here is no specific jurisdiction where ‘[t]he relevant plaintiffs
 6   are not [forum] residents and do not claim to have suffered harm in that State,’ and ‘all the
 7   conduct giving rise to the nonresidents’ claims occurred elsewhere.’” (Id. at 21–22 (second
 8   and third alterations in original) (quoting Bristol-Myers, 137 S. Ct. at 1782)).) Defendants
 9   cite several district court opinions where courts applied the Bristol-Myers rule to dismiss
10   claims brought by out-of-state plaintiffs based on out-of-state conduct. (See id. at 23
11   (citing, e.g., In re Samsung Galaxy Smartphone Mktg. & Sales Practices Litig., No. 16-cv-
12   6391-BLF, 2018 WL 1576457, at *2 (N.D. Cal. Mar. 30, 2018)).)
13         Defendants assert the foregoing analysis applies to the Indirect Plaintiffs who are
14   not California residents, are bringing claims under the state law where they reside, and
15   assert the harm occurred in states outside of California. (Id. at 24.) Defendants argue that
16   claims brought under California law fail the traditional purposeful direction test for the
17   same reasons discussed in its moving papers as to the Bashas Plaintiffs and the Cherokee
18   Nation. (See id. at 24–25.)
19         Next, Defendants argue that this case’s status as an MDL does not save the Indirect
20   Plaintiffs’ claims. The general rule is that “[i]n an MDL proceeding, the MDL transferee
21   court has jurisdiction over cases transferred under 28 U.S.C. § 1407 only if the court from
22   which the case was transferred would have jurisdiction.” (Id. at 26 (quoting In re
23   Testosterone Replacement Therapy Prods. Liab. Litig. Coordinated Pretrial Proceedings,
24   164 F. Supp. 3d 1040, 1045 (N.D. Ill. 2016)).) Defendants assert that even if the individual
25   Indirect Plaintiffs had filed their state-law claims in the forums where the respective claims
26   arose, then those courts would still lack personal jurisdiction. (See id. at 26–27.) This is
27   because, according to Defendants, the Indirect Plaintiffs have not established that Lion
28   Capital or Big Catch formed minimal contacts with any of the states under whose laws the

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 1   various claims arose. (Id. at 27.) Defendants aver that even if the Court were to find
 2   specific jurisdiction over any other claim in this proceeding then it must still find specific
 3   personal jurisdiction for each remaining claim. (Id. (citing Testosterone Replacement
 4   Therapy, 164 F. Supp. 3d at 1048).)
 5           Finally, Defendants address the California Cartwright Act claims. They posit that
 6   even if there were personal jurisdiction over the California-law claims of the indirect
 7   purchaser California residents, there is no jurisdiction to bring Cartwright Act claims on
 8   behalf of non-California residents. (Id. at 28.) Defendants cite a leading treatise that stated,
 9   “[t]he Supreme Court’s recent cases point to the conclusion that neither general nor specific
10   jurisdiction exists over nationwide class suits except in the defendant’s home states.” (Id.
11   (quoting 2 Newberg on Class Actions, § 6.26 (5th ed. 2018)).) Accordingly, Defendants
12   argue that the California residents cannot sponsor the nonresident indirect purchaser claims
13   from other states. (See id. at 29.)
14        B. Indirect Plaintiffs’ Arguments
15           The Indirect Plaintiffs respond that personal jurisdiction exists over the Cartwright
16   Act and other state law claims.30 Plaintiffs’ first theory is that this Court has already
17   determined that applying the Cartwright Act to out-of-state plaintiffs does not offend due
18   process. (EPP/CFP Opp’n 18–19 (citing ECF No. 492, at 16–21; and In re Korean Ramen
19   Antitrust Litig., No. 13-cv-4115-WHO, 2017 WL 235052, at *21 (N.D. Cal. Jan. 19, 2017);
20   and In re Optical Disk Drive Antitrust Litig., No. 10-md-2143 RS, 2016 WL 467444, at
21   *12 (N.D. Cal. Feb. 8, 2016)).) They also argue that out-of-state plaintiffs are protected
22   by the Cartwright Act who are injured by acts centered in California. (Id. at 19 (citing
23   AT&T Mobility LLC v. AU Optronics Corp., 707 F.3d 1106, 1113–14 (9th Cir. 2013); and
24   In re Static Random Access Memory (SRAM) Antitrust Litig., 580 F. Supp. 2d 896, 905
25   (N.D. Cal. 2008)).)
26
27
     30
28     They also argue that specific jurisdiction exists based on purposeful direction and alter ego theories,
     which the Court has already discussed at great length. See supra sections I & II.

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 1         Next, the Indirect Plaintiffs contend that because the Court should find specific
 2   jurisdiction over Lion Capital and Big Catch for the Cartwright Act claims, Plaintiffs may
 3   bring their remaining state law claims under two different theories. First, Federal Rule of
 4   Civil Procedure 18(a) allows a party to join independent or alternative claims against an
 5   opposing party. (Id. at 22.) Second, this Court can exercise pendent personal jurisdiction
 6   over any remaining claims that arise out of the same common nucleus of operative facts as
 7   the claim for which jurisdiction exists. (Id. at 22–23 (citing Picot, 780 F.3d at 1211).)
 8         Finally, the Indirect Plaintiffs contend that Bristol-Myers does not alter a finding of
 9   personal jurisdiction here. They assert that there is a sufficient affiliation between the
10   forum and the underlying controversy because of the specific acts of alleged conspiratorial
11   conduct took place in California. (See id. at 25.) The Indirect Plaintiffs then cite three
12   district court opinions that determined Bristol-Myers does not apply to federal class actions.
13   (See id. at 26 (citing, e.g., Fitzhenry-Russell v. Dr. Pepper Snapple Grp., Inc., No. 17-cv-
14   564 NC, 2017 WL 4224723, at *4–5 (N.D. Cal. Sept. 22, 2017)).) Plaintiffs conclude that
15   all of their injuries arose out of the Lion entities’ illegal price-fixing actions, which largely
16   occurred in the forum. (See id. at 26–27.)
17      C. Defendants’ Reply
18         Defendants first rebut Plaintiffs’ claim that Bristol-Myers is distinguishable because
19   it concerned a California mass tort action, but the claims here are federal class action
20   claims. They cite two district court opinions that conclude that Bristol-Myers enunciated
21   a generally applicable rule that due process requires a connection between the forum and
22   specific claims at issue, regardless of the type of suit or court. (Four Track Reply 24.)
23         Next, Defendants contend that even if the Court were to consider only the named
24   plaintiffs, those plaintiffs cannot allege any connection between their purchases and the
25   Lion entities’ activities in California. (See id. at 25–26.) Defendants then rebut Plaintiffs’
26   Rule 18 argument by stating that personal jurisdiction must be satisfied before any claim
27   is joined under Rule 18. (Id. at 26 (citing Allied Prof’ls Ins. Co. v. Harmon, No. 16-cv-
28   1864-JLS-KESx, 2017 WL 5634861, at *4 (C.D. Cal. Mar. 7, 2017)).) They also cite a

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 1   district court opinion that casts doubt on the viability of the pendent personal jurisdiction
 2   doctrine post-Bristol-Myers. (Id. (citing Greene v. Mizuho Bank, Ltd., 289 F. Supp. 3d
 3   870, 875 (N.D. Ill. 2017)).)
 4         Then, Defendants turn to the Cartwright Act claims. They argue that the cases cited
 5   by the Indirect Plaintiffs relate to choice-of-law due process principles, but Defendants are
 6   relying on specific personal jurisdiction due process principles. (Id. at 27.) They contend
 7   the nonresident Indirect Plaintiffs cannot establish specific personal jurisdiction in light of
 8   Bristol-Myers. (See id. at 29.)
 9      D. Court’s Analysis
10         In the wake of the Supreme Court’s opinion in Bristol-Myers, district courts are
11   divided over how far to apply its holding and reasoning. Does Bristol-Myers apply to
12   federal courts hearing federal class action claims? Does it overrule, sub silentio, the
13   doctrine of pendent personal jurisdiction? These are open questions and the Court treads
14   carefully.
15         But first the obvious. Plaintiffs argue that the multi-state Cartwright Act class
16   satisfies due process and cite this Court’s prior order as well as several other court opinions
17   in support of that proposition. Every single case they cite deals with choice-of-law
18   analysis. For example, this Court’s prior order determined that the Ninth’s Circuit’s
19   analysis in Mazza v. American Honda Motor Co., 666 F.3d 581, 587 (9th Cir. 2012), “sets
20   forth a three-element test to examine California choice-of-law analysis [to] determine
21   whether a putative class is valid under the Cartwright Act.” (ECF No. 492, at 17 (citation
22   omitted).) Likewise, the district court opinions in Optical Disk, 2016 WL 467444, at *12–
23   13, and Korean Ramen, 2017 WL 235052, at *21–22, as well as the Ninth Circuit decision
24   in AT&T Mobility, 707 F.3d at 1113, all shared a common mode of analysis: choice-of-
25   law. The Court agrees with Defendants that choice-of-law due process analysis is distinct
26   from personal jurisdiction due process analysis. See Kulko v. Superior Court, 436 U.S. 84,
27   98 (1978); Hanson v. Denckla, 357 U.S. 235, 254 (1958) (“The issue is personal
28   jurisdiction, not choice of law.”). Thus, every single choice of law case cited by Plaintiffs

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 1   is not on point. The Court also agrees with Defendants that Rule 18 does not obviate the
 2   need for personal jurisdiction for each claim a plaintiff seeks to add. See Allied Prof’ls,
 3   2017 WL 5634861, at *4 (citing Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557 F.2d 1280,
 4   1289 n.8 (9th Cir. 1977); and 6A Wright et al., Federal Practice and Procedure, § 1588
 5   (3d ed. 2018)). Plaintiffs must still establish that personal jurisdiction is appropriate in
 6   accordance with constitutional due process limitations before adding claims under Rule 18.
 7         Turning to the difficult questions. In the aftermath of Bristol-Myers, several courts
 8   have determined that its reasoning applies to federal courts sitting in diversity jurisdiction
 9   because a court must apply the state personal jurisdiction statute, as well as considering
10   constitutional limits. See Fitzhenry-Russell, 2017 WL 4224723, at *4; see also In re
11   Samsung Galaxy Smartphone Mktg. & Sales Practices Litig., 2018 WL 1576457, at *2;
12   Greene, 289 F. Supp. 3d at 874–75. Some of those courts have further determined that
13   Bristol-Myers applies to federal class actions. See Chavez v. Church & Dwight Co., No.
14   17 C 1948, 2018 WL 2238191, at *10 (N.D. Ill. May 16, 2018) (collecting cases).
15   Conversely, some courts have determined that even if Bristol-Myers applies generally
16   while sitting in diversity; it does not categorically apply to federal class actions. See
17   Fitzhenry-Russell, 2017 WL 4224723, at *5; see also In re Morning Song Bird Food Litig.,
18   No. 12CV01592 JAH-AGS, 2018 WL 1382746, at *5 (S.D. Cal. Mar. 19, 2018). At least
19   one district court has determined that Bristol-Myers’ reasoning does not categorically
20   extend to a federal court when the court sits in federal question jurisdiction. See Sloan v.
21   General Motors LLC, 287 F. Supp. 3d 840, 858 (N.D. Cal. 2018).
22         Federal courts, sitting in diversity, apply the forum state’s personal jurisdiction law.
23   See Picot, 780 F.3d at 1211. The general consensus post-Bristol-Myers appears to be that
24   because Bristol-Myers dealt with limits on state sovereign power within a federal system,
25   its reasoning is applicable to federal courts sitting in diversity. See, e.g., Fitzhenry-Russell,
26   2017 WL 4224723, at *4. The opinion most skeptical of Bristol-Myers’ applicability to
27   federal courts expressly noted that it did “not address whether and how Bristol-Myers
28   would apply if jurisdiction arose exclusively on the basis of diversity.” Sloan, 287 F. Supp.

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 1   3d at 859 n.2. This MDL case is not, however, before this Court solely on the basis of
 2   diversity jurisdiction. Several Plaintiffs invoke the Court’s federal question jurisdiction.
 3   (See, e.g., Bashas Compl. ¶¶ 9, 322.) The Indirect Plaintiffs invoke the Court’s federal
 4   question jurisdiction, (ECF No. 888, ¶ 111), but only bring state law causes of action, (see
 5   id. ¶ 402). The Court finds Sloan persuasive for the proposition that where a federal court
 6   sits in federal question jurisdiction, the due process concerns are different than those
 7   animating Bristol-Myers and a court would not apply Bristol-Myers when sitting in federal
 8   question jurisdiction. 287 F. Supp. 3d at 859. This Court, however, does not rest entirely
 9   on that proposition as a basis for personal jurisdiction because the Indirect Plaintiffs do not
10   bring any causes of action arising under federal law.
11         Even if the Court were to apply Bristol-Myers to the Indirect Plaintiffs’ state law
12   claims, the doctrine of pendent personal jurisdiction would provide an independent basis
13   to find personal jurisdiction. “[A] court may assert pendent personal jurisdiction over a
14   defendant with respect to a claim for which there is no independent basis of personal
15   jurisdiction so long as it arises out of a common nucleus of operative facts with a claim in
16   the same suit over which the court does have personal jurisdiction.” Action Embroidery,
17   368 F.3d at 1180 (citations omitted). “Pendent personal jurisdiction is typically found
18   where one or more federal claims for which there is nationwide personal jurisdiction are
19   combined in the same suit with one or more state or federal claims for which there is not
20   nationwide personal jurisdiction.” Id. at 1180–81.
21         Pendent personal jurisdiction is appropriate here. The Court has before it federal
22   question claims arising out of the Clayton and Sherman Antitrust Acts, which provide for
23   nationwide personal jurisdiction. See 15 U.S.C. § 22; Action Embroidery, 368 F.3d at
24   1177–79.     Further, the Lion Defendants are properly within the Court’s personal
25   jurisdiction with respect to the federal antitrust claims. It is clear from the various
26   Plaintiffs’ complaints that they generally allege the same common nucleus of operative
27   facts—the Defendants purchased Bumble Bee in 2010 and knowingly participated in a
28   price-fixing conspiracy. Exercising pendent personal jurisdiction would best serve the

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 1   motivating policies delineated by the Ninth Circuit; these include “judicial economy,
 2   avoidance of piecemeal litigation, and overall convenience of the parties.”            Action
 3   Embroidery, 368 F.3d at 1181. These policies are served here because this Court can
 4   consolidate all pre-trial proceedings in one litigation. And, Defendants will be haled into
 5   this Court to defend the Sherman Act claims; adding state law claims reinforces the
 6   motivating policies.
 7         Defendants contend that the doctrine of pendent personal jurisdiction cannot survive
 8   Bristol-Myers and cite Greene, 289 F. Supp. 3d at 874, for that proposition. Neither
 9   Defendants nor the Greene court explain their reasoning beyond this declarative statement.
10   The district court in Muir v. Nature’s Bounty (DE), Inc., No. 15 C 9835, 2018 WL 3647115,
11   at *4 (N.D. Ill. Aug. 1, 2018), provides a helpful discussion of Bristol-Myers’ impact on
12   pendent personal jurisdiction. The court reasoned where a district court has personal
13   jurisdiction over a federal question cause of action then it can exercise pendent personal
14   jurisdiction without running afoul of Bristol-Myers. Id. This is because the Supreme Court
15   limited its holding to state courts and the interstate federalism concerns motivating Bristol-
16   Myers are not as pronounced when a federal court exercises coercive power based on
17   original jurisdiction. Muir, 2018 WL 3647115, at *4 (citing Bristol-Myers, 137 S. Ct.
18   1783–84; and Sloan, 287 F. Supp. 3d at 858–59). This Court joins in the reasoning of Muir
19   and Sloan and finds that pendent personal jurisdiction may be exercised where, as here, a
20   federal statute provides for nationwide service of process.
21         The Court also finds that even though the Indirect Plaintiffs themselves do not bring
22   a federal question cause of action, pendent personal jurisdiction is appropriate because the
23   other Plaintiffs allege federal causes of action. The Sloan court addressed the same issue
24   and reasoned that Action Embroidery “focused on whether the new claims arose out of the
25   same nucleus of operative facts, not whether the claims belonged to the same plaintiffs.”
26   287 F. Supp. 3d at 860 (citing Action Embroidery, 368 F.3d at 1181). Thus, pendent
27   personal jurisdiction is permissible when the other Plaintiffs bring federal questions based
28   on the same nucleus of operative fact.

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 1          Exercising pendent personal jurisdiction also comports with fair play and substantial
 2   justice. See Axiom Foods, 874 F.3d at 1068; Action Embroidery, 368 F.3d at 1181. As
 3   previously discussed, the federal antitrust claims against the Lion Defendants will proceed
 4   before this Court. Therefore, the additional burden in litigating the pendent state law
 5   claims are minimal. And, as the Action Embroidery court reasoned, litigating all claims
 6   together in this MDL will reduce piecemeal litigation and improve judicial economy. The
 7   Court DENIES Defendants’ Motion to Dismiss to the extent they seek to dismiss the
 8   Indirect Plaintiffs’ state law claims. The Court now turns to Defendants’ second argument:
 9   that Plaintiffs fail to state a claim for which relief may be granted.
10   V.     Whether Plaintiffs State a Claim Against the Lion Entities
11          Plaintiffs bring a cause of action under section one of the Sherman Act. (See, e.g.,
12   Bashas Compl. ¶ 322; Nation FAC ¶ 248.) Defendants advance two broad theses why
13   Plaintiffs fail to state a claim. First, they contend that Plaintiffs fail to state a claim against
14   the Lion entities under an alter ego theory. (MTD 24.) Second, Defendants assert that
15   Plaintiffs fail to state a claim that Defendants are direct participants in the alleged
16   conspiracy. (Id. at 30.)
17          The parties’ arguments with regard to alter ego liability are coextensive with the
18   personal jurisdiction alter ego arguments. Therefore, the Court’s prior findings apply with
19   equal weight here. The Court finds no alter ego liability between Bumble Bee and any
20   Lion entity. The Court finds that Plaintiffs have sufficiently alleged that Big Catch is the
21   alter ego of Lion Capital. With that in mind, the Court turns to the alleged direct
22   participation in the conspiracy.
23        A. Defendants’ Arguments
24          Defendants posit three broad arguments why Plaintiffs fail to state a claim. First,
25   Plaintiffs’ theory is implausible and makes no economic sense. (MTD 30.) Second, the
26   allegations concerning actions taken by non-Lion defendants do not support direct
27   participation by Lion Defendants. (Id. at 31.) Third, the allegations concerning actions
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 1   taken by Lion Defendants themselves do not show direct and independent participation in
 2   the alleged conspiracy. (Id. at 32.)
 3         1. Economic Sense
 4         Plaintiffs’ assert that Defendants uncovered the alleged price fixing conspiracy
 5   during due diligence for the Bumble Bee acquisition and then proceeded to direct a Lion
 6   investment fund to purchase Bumble Bee for the purposes of realizing supra-competitive
 7   profits from Bumble Bee’s business. (Id. at 30 (citing Bashas Compl. ¶ 279).) Defendants
 8   argue this theory is implausible; specifically, it would make no economic sense for a private
 9   equity firm to risk its reputation so that one of its portfolio companies could earn profits
10   from an illegal conspiracy. (Id.) According to Defendants, Plaintiffs fail to allege the Lion
11   entities have “any rational motive to join the alleged conspiracy” or that “the conduct
12   alleged ‘was consistent with the [Lion Entities’] independent interest.’” (Id. at 31 (quoting
13   Cascades Comput. Innovation LLC v. RPX Corp., No. 12-CV-01143 YGR, 2013 WL
14   316023, at *11 (N.D. Cal. Jan. 24, 2013)).)
15         2. Actions Concerning Non-Lion Actors
16         Plaintiffs also allege actions taken by non-Lion, i.e., Bumble Bee, actors. As an
17   initial matter, Defendants take issue with Plaintiffs’ group pleading, i.e., Plaintiffs’
18   allegations are directed towards “Lion” rather than discrete entities. Defendants argue
19   Plaintiffs fail to provide any Lion entity with fair notice of the discrete acts by which each
20   one participated in the conspiracy. (Id.) Turning to the substance of Plaintiffs’ arguments,
21   Defendants contend that most of Plaintiffs’ factual allegations do not involve Lion entities
22   or only involve communications that Lion executives passively received from Bumble Bee.
23   (Id.) For example, several phone calls and meetings that Plaintiffs allege showing a
24   conspiracy involving Bumble Bee executives and StarKist and Chicken of the Sea
25   executives do not include Lion executives. (Id. at 31–32 (citing Bashas Compl. ¶¶ 292,
26   294–95).)
27         Many allegations center on actions taken by a non-Lion actor, Mr. Lischewski,
28   towards Lion employees. For example, on a January 16, 2012 phone call Lischewski

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 1   conveyed to Chang what Lischewski believed to be a non-public price change by StarKist.
 2   But, Defendants point out that Plaintiffs concede that StarKist’s price change was publicly
 3   announced three days earlier. (Id. at 32 (citing Bashas Compl. ¶ 287).) And, Plaintiffs do
 4   not allege that Chang was unaware of the announcement. (Id. (citing Bashas Compl.
 5   ¶ 287).) Further, Defendants discuss a January 26, 2012 email from Lischewski to
 6   Lindberg and Capps in which Lischewski raised concerns about “cheating” by StarKist in
 7   first quarter of 2012. (Id. (quoting Bashas Compl. ¶ 288).) Defendants argue that Plaintiffs
 8   provide no support for the claim that “cheating” refers to a conspiracy or that Lindberg or
 9   Capps understood the term to be referring to a conspiracy. (Id.) And, Plaintiffs do not
10   allege any Lion entity were involved in underlying decision to increase prices. (Id.)
11          3. Actions Concerning Lion Actors
12          Finally, Defendants assert that Plaintiffs fail to allege sufficient facts that Lion
13   directly and independently participated in the conspiracy. They characterize the facts
14   presented by Plaintiffs in support of their theory as four meetings and two emails—
15   Defendants contend these four meetings31 and two emails support an inference of
16   “economically legitimate activities.” (Id. at 33.)
17          4. Arguments Specific to the Cherokee Nation’s First Amended Complaint
18          The Cherokee Nation generally covers the same ground as the Bashas Plaintiffs
19   except as to a few different facts demonstrating direct involvement. The Nation describes
20   an email exchange between Lindberg and Chansiri where Lindberg sent Chansiri Bumble
21   Bee’s “strategic plan forecast and recent historical results” without “a formal [non-
22   disclosure agreement]”; yet, despite the lack of a non-disclosure agreement, Lindberg made
23   clear that the information was “very confidential.” (ECF No. 1006-1, at 36 (quoting Nation
24   FAC ¶ 53).) Defendants characterize this exchange as consistent with Lion’s desire to sell
25
26   31
        The Cherokee Nation FAC only alleges two meetings: October 2011 and early 2012. (ECF No. 1006-
     1, at 35 (citing Nation FAC ¶¶ 52–53).) Defendants advance the same argument with respect to the Bashas
27   Plaintiffs: these facts could just as easily suggest rational, legal behavior. (See id.) Because the Bashas
28   Plaintiffs’ allegations are the broadest concerning the meetings, the Court will only address the Bashas’
     arguments above the line.

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 1   support a plausible inference that any Lion entity evinced a “conscious commitment” to a
 2   price fixing conspiracy. (Id. at 18 (quoting Greencycle Paint, Inc. v. Paintcare, Inc., No.
 3   15-cv-4059-MEJ, 2016 WL 1402845, at *4 (N.D. Cal. Apr. 8, 2016)).)
 4         Finally, Defendants turn to the January 26, 2012 email Mr. Lischewski sent to
 5   Lindberg and Capps. Defendants contend that by the time of this email, the April 2012
 6   price increase was public knowledge and the inference the Court should take from the email
 7   is there was “aggressive pricing behavior in a highly competitive marketplace.” (Id.)
 8      D. Court’s Analysis
 9         Section one of the Sherman Act declares illegal “[e]very contract, combination in
10   the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among the
11   several states.” 15 U.S.C. § 1. “A defendant may be held ‘liable under § 1 of the Sherman
12   Act if that person . . . [acted] either with the knowledge that the . . . [action] would have
13   unreasonable anticompetitive effects or with the purpose of producing those effects.”
14   Arandell Corp. v. Centerpoint Energy Servs., Inc., —F.3d—, No. 16-17099, 2018 WL
15   3716026, at *4 (9th Cir. Aug. 6, 2018) (alterations in original) (quoting United States v.
16   Bailey, 444 U.S. 394, 404–05 (1980)). “Because § 1 of the Sherman Act ‘does not prohibit
17   [all] unreasonable restraints of trade . . . but only restraints effected by a contract,
18   combination, or conspiracy,’” Twombly, 550 U.S. at 553 (alterations in original) (quoting
19   Copperweld Corp. v. Independence Tube Corp., 467 U.S. 752, 775 (1984)), “‘[t]he crucial
20   question’ is whether the challenged anticompetitive conduct ‘stem[s] from independent
21   decision or from an agreement, tacit or express,’” id. (alterations in original) (quoting
22   Theatre Enters., Inc. v. Paramount Film Distributing Corp., 346 U.S. 537, 540 (1954)).
23   The essential elements of a § 1 cause of action are: “(1) an agreement among two or more
24   persons or distinct business entities; (2) which is intended to harm or unreasonably restrain
25   competition; and (3) which actually causes injury to competition.” Ernest W. Hahn, Inc.
26   v. Codding, 615 F.2d 830, 844 (9th Cir. 1980).
27         In Twombly, the Supreme Court emphasized the pleading requirements under section
28   one of the Sherman Act:

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 1                [A] plaintiff’s obligation to provide the “grounds” of his
                  “entitle[ment] to relief” requires more than labels and
 2
                  conclusions, and a formulaic recitation of the elements of a cause
 3                of action will not do. . . . Factual allegations must be enough to
                  raise a right to relief above the speculative level.
 4
                         In applying these general standards to a § 1 claim, we hold
 5                that stating such a claim requires a complaint with enough factual
                  matter (taken as true) to suggest that an agreement was made.
 6
                  Asking for plausible grounds to infer an agreement does not
 7                impose a probability requirement at the pleading stage; it simply
                  calls for enough fact[s] to raise a reasonable expectation that
 8
                  discovery will reveal evidence of illegal agreement . . . . [A]n
 9                allegation of parallel conduct and a bare assertion of conspiracy
                  will not suffice.
10
11   550 U.S. at 555 (second alteration in original) (citations and footnote omitted). The
12   Twombly court “also suggested that to allege an agreement between antitrust co-
13   conspirators, the complaint must allege facts such as a ‘specific time, place, or person
14   involved in the alleged conspiracies’ to give a defendant seeking to respond to allegations
15   of a conspiracy an idea of where to begin.” Kendall v. Visa U.S.A., Inc., 518 F.3d 1042,
16   1047 (9th Cir. 2008) (quoting Twombly, 550 U.S. at 565 n.10). With this general
17   framework in mind, the Court turns to the parties’ arguments.
18      1. Whether Plaintiffs’ Theory Makes Economic Sense
19         “Antitrust claims must make economic sense.” Adaptive Power Sols., LLC v.
20   Hughes Missile Sys. Co., 141 F.3d 947, 952 (9th Cir. 1998) (citing Eastman Kodak Co. v.
21   Image Tech. Servs. Inc., 504 U.S. 451, 468 (1992)). “At the motion to dismiss stage, the
22   determination turns on whether the defendants had ‘any rational motive’ to join the alleged
23   conspiracy; and whether the conduct alleged ‘was consistent with the defendant’s
24   independent interest.’” Cascades Comput. Innovation, 2013 WL 316023, at *11 (quoting
25   Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 596–97 (1986)).
26         Here, Plaintiffs allege that after decades of growth, demand for packaged tuna has
27   been falling since 2004. (Bashas Compl. ¶ 74.) The U.S. demand for tuna has decreased
28   from an average of 3.5 pounds of canned tuna per person in 2000 to under 2.5 pounds per

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 1   time, never be discovered. Defendants would have a massive potential liability if they
 2   knowingly entered into a conspiracy. However, the opposite observation is also true;
 3   Defendants would have a large upside if they could sell Bumble Bee at a profit and not a
 4   loss.     Further, Defendants’ argument about risk to client investments and personal
 5   reputation could also be made for Bumble Bee and its executives, but guilty pleas in the
 6   Northern District gives pause to that reasoning. The Court is not persuaded that simply
 7   because Lion Capital and Lion Americas are not in the packaged tuna business, that they
 8   did not stand to reap the benefits from participation in the conspiracy. If Defendants sold
 9   Bumble Bee for a profit, then their investors benefit. If Lion’s investors benefit, then Lion
10   benefits, either through fees, its own investments in its fund, or continued investment in
11   the fund for future purchases. In sum, Defendants had some rational motive to join the
12   conspiracy and the conduct alleged was consistent with Lion Capital’s interest in selling
13   Bumble Bee for a profit. Thus, the Court finds Plaintiffs have stated a valid economic
14   theory.
15      2. Direct Participation by Lion Americas
16           a. Conspiracy Between Two or More Persons
17           In Twombly, the Supreme Court distinguished between allegations resting on
18   “descriptions of parallel conduct” and “any independent allegation[s] of actual agreement.”
19   550 U.S. at 564. It is often the case that antitrust complaints do not include any direct and
20   independent allegations of an agreement. See Name.Space, Inc. v. Internet Corp. for
21   Assigned Names & Numbers, 795 F.3d 1124, 1130 (9th Cir. 2015) (citing Oltz v. St. Peter’s
22   Cmty. Hosp., 861 F.2d 1440, 1450–51 (9th Cir. 1988)). “Because direct evidence of
23   concerted action in violation of antitrust laws is so rare, the Supreme Court has traditionally
24   granted fact finders some latitude to find collusion or conspiracy from parallel conduct and
25   inferences drawn from the circumstances.” Oltz, 861 F.2d at 1450–51 (citing Am. Tobacco
26   Co. v. United States, 328 U.S. 781, 810 (1946)). That latitude has limits; the Court
27   “cannot . . . infer an anticompetitive agreement when factual allegations ‘just as easily
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 1          In this instance, the outcome of the investigation is not “pure speculation.” Bumble
 2   Bee has pled guilty to a conspiracy to fix prices in the packaged seafood market in the
 3   United States. (Bashas Compl. ¶ 268.) Two executives at Bumble Bee have also pled
 4   guilty and Mr. Lischewski has been indicted. (See id. ¶ 4; Ex. 45, ECF No. 1247-17.) The
 5   DOJ’s investigation has moved beyond the nascent stages outlined in the Court’s prior
 6   order, (see ECF No. 283, at 14–15), and the Court considers those facts as part of its
 7   analysis.
 8          Also meriting discussion, Plaintiffs describe the market dynamics and Lion’s
 9   knowledge of those realities. Plaintiffs have alleged that from 2004 through 2014 domestic
10   U.S. consumption of tuna has declined. (Bashas Compl. ¶ 76.) And, the global supply of
11   raw tuna increased over that same time period. (Id. ¶ 78.) In a normal market this would
12   decrease prices. However, as Plaintiffs point out, the dollar sales of packaged tuna
13   increased while the volume of sales has decreased, which supports a conclusion that prices
14   increased. (See id. ¶ 76 fig. 1.) Defendants had access to sales and production data from
15   Bumble Bee and, as they admit, Lion Capital is a “sophisticated investment firm.” (Reply
16   15.) One might expect a sophisticated investment firm to diagnose why prices remained
17   elevated despite decreasing demand and increasing supply.33 The foregoing allegations are
18   a backdrop. Yet, those macro-level observations remain unconnected to specific factual
19   allegations, to which the Court now turns.
20          The period from January to March 2012 is particularly salient. Plaintiffs discuss a
21   specific telephone conversation on January 16, 2012, where Lischewski thought he was
22   giving Mr. Chang StarKist’s non-public price list information. (Bashas Compl. ¶ 287.)
23
24
     33
25      At oral argument, Defendants acknowledge that Lion Capital is a sophisticated investment firm, but
     contend that a conspiracy agreement would not be discovered by a due diligence of the internal documents
26   from Centre Partners Management. (ECF No. 1321, at 51.) The Court understands Defendants’ argument;
     however, the market conditions are generally observable when a firm, such as Lion, conducts “marketing
27   intelligence” on the other competitors in the market. (Id. at 52.) Thus, as the DOJ stated, “the parties
28   knew or should have known from the get go—that the market is not functioning competitively today, and
     further consolidation would only make things worse.” (Bashas Compl. ¶ 84.)

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 1         Defendants raise the possibility that the preceding events depict rational, legitimate
 2   business activity typical of a private equity firm. (MTD 35.) They raised similar arguments
 3   at the hearing; specifically, the discussions and emails concerned legitimate “marketing
 4   intelligence” by the Lion entities about their market competitors. (ECF No. 1321, at 52.)
 5   In its prior order, the Court noted that the “the similarity, and corresponding equipoise
 6   between innocuous and conspiratorial inferences, is partially removed by the alleged
 7   agreement and tighter timeline during which the relevant communications occurred.”
 8   (ECF No. 283, at 18.) The concern between plausibility and possibility, as discussed in
 9   Twombly and Iqbal, is “largely grounded in ensuring the burdens of often costly and time-
10   consuming discovery are taken into account when a court considers a motion to dismiss.”
11   (Id. at 17 (citing Twombly, 550 U.S. at 559).) Viewing the events of January to March
12   2012 as a whole, the DOJ investigation, and Twombly and Iqbal’s guidance, leads the Court
13   to the conclusion that Plaintiffs have produced sufficient factual matter that nudges their
14   conspiracy allegations from possible to plausible. Accordingly, the Court finds there is
15   sufficient factual matter to meet the first element of a § 1 violation and proceeds to the
16   second element.
17         b. Intent to Harm or Restrain Trade or Commerce
18         There are two modes of analysis to determine whether an agreement between
19   conspirators was lawful: per se and rule of reason. Rule of reason is the default mode
20   “unless the challenged action falls into the category of ‘agreements or practices which
21   because of their pernicious effect on competition and lack of any redeeming virtue are
22   conclusively presumed to be unreasonable and therefore illegal without elaborate inquiry
23   as to the precise harm they have caused or the business excuse for their use.’” Nw.
24   Wholesale Stationers, Inc. v. Pac. Stationery & Printing Co., 472 U.S. 284, 289 (1985)
25   (quoting N. Pac. Ry. v. United States, 356 U.S. 1, 5 (1958)). “The decision to apply the per
26   se rule turns on ‘whether the practice facially appears to be one that would always or almost
27   always tend to restrict competition and decrease output . . . or instead one designed to
28   increase economic efficiency and render markets more, rather than less, competitive.’” Id.

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 1   at 289–90 (alteration in original) (internal quotation marks omitted) (quoting Broad. Music,
 2   Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 19–20 (1979)).
 3         “In analyzing the reasonableness of an agreement under § 1, the Supreme Court has
 4   distinguished between agreements made up and down a supply chain, such as between a
 5   manufacturer and a retailer (‘vertical agreements’), and agreements made among
 6   competitors (‘horizontal agreements’).” In re Musical Instruments & Equip. Antitrust
 7   Litig., 798 F.3d 1186, 1191 (9th Cir. 2015). Horizontal anticompetitive agreements are per
 8   se Sherman Act violations and “[o]nce the agreement’s existence is established, no further
 9   inquiry into the practice’s actual effect on the market or the parties’ intentions is necessary
10   to establish a § 1 violation.” Id. (citing N. Pac. Ry., 356 U.S. at 5). One example of a per
11   se violation is an agreement among competitors to fix prices. Id. (citing United States v.
12   Trenton Potteries Co., 273 U.S. 392, 397–98 (1927)).
13         Here, Plaintiffs have alleged an agreement amongst the dominant market
14   competitors in the packaged tuna industry to fix prices. (See Bashas Compl ¶ 1; ECF No.
15   283, at 21 (finding per se violation of Sherman Act for a related allegation concerning
16   FAD-free tuna labels).) The Court finds that Plaintiffs have sufficiently alleged a per se
17   Sherman Act violation.
18         c. Antitrust Injury
19         The third element required to bring an antitrust claim is that a plaintiff must have
20   suffered an antitrust injury. See Glen Holly Entm’t, Inc. v. Tektronix, Inc., 352 F.3d 367,
21   371 (9th Cir. 2003). Antitrust injury must be “loss or damage of ‘the type the antitrust laws
22   were designed to prevent and that flows from that which makes defendants’ acts
23   unlawful.’” Cargill, Inc. v. Monfort of Colo., Inc., 479 U.S. 104, 113 (1986) (quoting
24   Brunswick Corp. v. Pueblo Bowl–O–Mat, Inc., 429 U.S. 477, 489 (1977)). There are “four
25   requirements for antitrust injury: (1) unlawful conduct, (2) causing an injury to the plaintiff,
26   (3) that flows from that which makes the conduct unlawful, and (4) that is of the type the
27   antitrust laws were intended to prevent.” Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190
28   F.3d 1051, 1055 (9th Cir. 1999).

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 1           Here, Plaintiffs allege sufficient unlawful conduct as illustrated by the purported
 2   conspiracy to fix prices amongst market competitors. As previously discussed, this is a per
 3   se violation of the Sherman Act. They allege that they have been injured by increased
 4   prices, (Bashas Compl. ¶ 223–24, 324), which were the result of Defendants’
 5   anticompetitive acts, (id.).
 6           Finally, with respect to the type of injury that antitrust laws were meant to protect,
 7   the Ninth Circuit has stated: “Antitrust injury requires the plaintiff to have suffered its
 8   injury in the market where competition is being restrained. Parties whose injuries, though
 9   flowing from that which makes the defendant’s conduct unlawful, are experienced in
10   another market do not suffer antitrust injury.” Am. Ad Mgmt., 190 F.3d at 1057. Plaintiffs
11   are business entities within the packaged tuna market because they purchase tuna directly
12   from one or more of the MDL defendants. (Bashas Compl. ¶¶ 16–18.)35 Accordingly, the
13   Court finds Plaintiffs have alleged sufficient factual matter to meet the third element of a
14   § 1 Sherman Act violation. The Court further finds that Plaintiffs have stated a claim
15   against Lion Americas for a § 1 Sherman Act violation.
16        3. Direct Participation by Lion Capital and Big Catch
17           Finally, the Court turns to direct participation by Lion Capital and Big Catch. The
18   Court agrees with Defendants that Plaintiffs impermissibly attempt to engage in group
19   pleading without differentiating between who was employed by what entity, (see, e.g.,
20   Bashas Opp’n 10 n.1 (“‘Lion’ refers to Lion Capital, Lion Americas, and Big Catch.”)).
21   Plaintiffs allege that Lindberg was a Lion Capital partner, (TACC ¶¶ 36, 50), but do not
22   advance any arguments why the actions of limited partners of Lion Capital who
23   participated in the alleged price fixing should be imputed to Lion Capital36 Plaintiffs do
24
25
     35
        The Cherokee Nation’s antitrust injury is the subject of a different motion to dismiss and will be
26   discussed separately by the Court.
     36
        The Bashas Plaintiffs argued at the hearing: “The same [employees] that worked for both companies
27   were executives at both companies, and the actions taken by these individuals in furtherance of the
28   conspiracy as alleged below were taken on behalf of both entities.” (ECF No. 1321, at 46.) While
     Plaintiffs allege “significant overlap” between Lion Americas and Lion Capital, (Bashas Compl. ¶ 271),

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 1   address limited allegations to the actions of Mr. Lea; for example, he attended numerous
 2   meetings where Bumble Bee executives reported on key issues impacting Bumble Bee’s
 3   business. (Id. ¶ 48.) To carry their burden, Plaintiffs must “allege facts such as a ‘specific
 4   time, place, or person involved in the alleged conspiracies’ to give a defendant seeking to
 5   respond to allegations of a conspiracy an idea of where to begin.” Kendall, 518 F.3d at
 6   1047. The Court finds that Plaintiffs have not alleged with any specificity the incidents
 7   involving Mr. Lea and his alleged connection to the conspiracy.
 8          Further, the Complaint contains no factual matter concerning Big Catch’s
 9   participation in the conspiracy, which is not surprising given its role as a holding company.
10   Further, because Plaintiffs have not alleged sufficient facts to state a claim against Lion
11   Capital, it does not matter that the Court has found that Big Catch is the alter ego of Lion
12   Capital for personal jurisdiction purposes. Accordingly, the Court finds that Plaintiffs fail
13   to state a claim with regard to Big Catch. Therefore, the Court GRANTS IN PART
14   Defendants’ Rule 12(b)(6) motions and DISMISSES WITHOUT PREJUDICE
15   Plaintiffs’ claims as to Lion Capital, LLP and Big Catch Cayman LP.
16          In sum, the Court finds Plaintiffs have alleged sufficient facts to plausibly state a
17   claim for a violation of section 1 of the Sherman Act by Lion Americas. The Court
18   DENIES IN PART Defendants’ Rule 12(b)(6) Motions to Dismiss with respect to Lion
19   Americas.
20   VI.    Statute of Limitations
21          Finally, Defendants argue that a four-year limitations period applies and should limit
22   any liability for more than four years prior to when the various causes of action accrue.
23   (MTD 36 (citing 15 U.S.C. § 15b; and Hexcel Corp. v. Ineos Polymers, Inc., 681 F.3d
24   1055, 1059–60 (9th Cir. 2012)).) They contend that Plaintiffs named the Lion entities as
25   defendants on December 11, 2017 and, thus, Plaintiffs should be time-barred from asserting
26
27   they do not provide the Court with any argument why the actions of a limited partner should impute to the
28   limited partnership or why the Court should determine Lindberg, Capps, and Chang were working for
     Lion Capital at the same time they were working for Lion Americas.

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 1   claims relating to conduct before December 11, 2013. (Id.) Defendants also contend that
 2   once the pre-December 11, 2013 conduct is removed, then Plaintiffs’ allegations
 3   concerning Lion entities become practically nonexistent. (See id.)
 4         Plaintiffs argue that the statute of limitations was tolled due to Defendants’
 5   fraudulent concealment. (Bashas Opp’n 43.) Plaintiffs go on to assert that they have
 6   alleged significant factual detail demonstrating affirmative acts by various defendants to
 7   conceal the conspiracy. (See id. (citing Bashas Compl. ¶¶ 183–86, 189–96, 203, 205, 207,
 8   209, 225–66).) Finally, Plaintiffs cite other district court cases where the courts determined
 9   that there was no requirement for a plaintiff to allege specific acts of fraudulent
10   concealment as to each defendant. (See id. at 44 (citing In re Animation Workers Antitrust
11   Litig., 123 F. Supp. 3d 1175, 1207 (N.D. Cal. 2015); and In re Cathode Ray Tube (CRT)
12   Antitrust Litig., No. 07-5944 SC, 2010 WL 9543295, at *10 (N.D. Cal. Feb. 5, 2010)).)
13         Defendants respond by citing this Court’s prior order stating “allegations of
14   fraudulent concealment must satisfy Federal Rule of Civil Procedure 9(b).” (Reply 25
15   (quoting ECF No. 295, at 90).) They also cite Barker v. American Mobil Power Corp., 64
16   F.3d 1397, 1402 (9th Cir. 1995), for the proposition that, “[p]laintiffs may not generally
17   use the fraudulent concealment by one defendant as a means to toll the statute of limitations
18   against other defendants.” (Reply 25.) Defendants would apply that rule here because
19   Plaintiffs’ allegations are generalized allegations concerning “defendants” and not specific
20   to the Lion entities. (See id.)
21         “Antitrust actions under the Clayton Act are subject to a four year statute of
22   limitations.” In re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp. 2d 1109, 1119
23   (N.D. Cal. 2008) (citing 15 U.S.C. § 15(b) (2002); Klehr v. A.O. Smith Corp., 521 U.S.
24   179, 189 (1997)). As Defendants point out, “allegations of fraudulent concealment must
25   satisfy Federal Rule of Civil Procedure 9(b), which requires that fraud be pled with
26   particularity. Specifically, a plaintiff ‘must plead with particularity the circumstances of
27   the concealment and the facts supporting its due diligence.’” (ECF No. 295, at 90 (quoting
28   Conmar Corp. v. Mitsui & Co. (U.S.A.), 858 F.2d 499, 502 (9th Cir. 1988)).) Plaintiffs

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 1   bear the burden of pleading and proving fraudulent concealment. See Conmar, 858 F.2d
 2   at 502. “To plead fraudulent concealment, the plaintiff must allege that: (1) the defendant
 3   took affirmative acts to mislead the plaintiff; (2) the plaintiff did not have ‘actual or
 4   constructive knowledge of the facts giving rise to [his] claim’ as a result of the defendant’s
 5   affirmative acts; and (3) the plaintiff acted diligently in trying to uncover the facts giving
 6   rise to his claim.” Garrison v. Oracle Corp., 159 F. Supp. 3d 1044, 1073 (N.D. Cal. 2016)
 7   (alteration in original) (quoting Hexcel, 681 F.3d at 1060).
 8         Plaintiffs’ allegations concerning fraudulent concealment meet Rule 9(b)’s
 9   particularity requirement with respect to Bumble Bee, StarKist, and Chicken of the Sea and
10   their employees involved in the alleged conspiracy. The allegations include various
11   affirmative acts, including telephonic conversations, emails from private accounts, and
12   face-to-face meetings. (See Bashas Compl. ¶ 258.) Plaintiffs aver that they did not have
13   knowledge of the facts giving rise to their claim and acted diligently in searching out the
14   facts. (See id. ¶¶ 261–66.) The Court finds Plaintiffs have adequately alleged fraudulent
15   conspiracy, at least as to some defendants but not the Lion Defendants.
16         This observation is only partially satisfactory because the Ninth Circuit has
17   announced a general rule that fraudulent concealment may not be transferred or imputed
18   from one defendant to another. See Barker, 64 F.3d at 1402. The district court in In re
19   Animation Workers thoroughly and exhaustively discusses the issue of whether Barker’s
20   general rule should apply to antitrust conspiracy cases. See 123 F. Supp. 3d at 1206–08.
21   Particularly dispositive for the Animation Workers court was the Ninth Circuit’s
22   admonition in Beltz Travel Service, Inc. v. International Transportation Association, 620
23   F.2d 1360, 1367 (9th Cir. 1980), that:
24                If [a plaintiff] can establish the existence of a conspiracy in
                  violation of the antitrust laws and that [defendants] were a part
25
                  of such a conspiracy, [defendants] will be liable for the acts of
26                all members of the conspiracy in furtherance of the conspiracy,
                  regardless of the nature of [defendants’] own actions.
27
                  Participation by each conspirator in every detail in the execution
28                of the conspiracy is unnecessary to establish liability, for each

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 1                conspirator may be performing different tasks to bring about the
                  desired result.
 2
 3   In re Animation Workers, 123 F. Supp. 3d at 1207 (alterations in original). The Animation
 4   Workers court went on to find that Barker’s application is “incompatible” with Beltz’s
 5   holding and denied a motion to dismiss the plaintiffs’ claims as time barred. Id. This Court
 6   agrees with the Animation Workers court and adopts its reasoning here. Barker did not
 7   involve an alleged conspiracy and does not address the unique legal intricacies of
 8   conspiracies. See id. at 1207–08. Thus, the Court finds that equitable tolling is appropriate
 9   given Plaintiffs’ allegations concerning fraudulent concealment and the nature of the case
10   as an antitrust conspiracy.
11                                        CONCLUSION
12         In light of the foregoing, the Court GRANTS IN PART AND DENIES IN PART
13   Defendants’ Motions to Dismiss, (ECF Nos. 997, 999, 1248). The Court GRANTS
14   Defendants’ Rule 12(b)(6) Motions with regard to Lion Capital, LLC and Big Catch and
15   DISMISSES WITHOUT PREJUDICE those claims. The Court DENIES Defendants’
16   Rule 12(b)(6) Motions as to the claims against Lion Capital (Americas), Inc. and DENIES
17   Defendants’ Rule 12(b)(2) Motions as to all Lion Defendants. The Court GRANTS
18   LEAVE TO AMEND the respective Complaints to all Plaintiffs. Plaintiffs MAY FILE
19   amended Complaints within thirty (30) days of the date on which this Order is
20   electronically docketed. Plaintiffs SHALL consolidate and coordinate filings to the
21   maximum extent possible.
22         IT IS SO ORDERED.
23
     Dated: September 5, 2018
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